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                       Exhibit A
                                                                                                                                                Case 21-30589-MBK Doc 2745-2 Filed 07/19/22 Entered 07/19/22 18:21:45 Desc
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                                                                                                                                                                                                     Clerk of Court
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                                                                                                                                                           8 Attorneys for Plaintiffs
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                                                                                                                                                           9                               SUPERIOR COURT OF CALIFORNIA
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                                                                                                                                                          10                                    COUNTY OF SANTA CLARA
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                                                                                                                                                          11 DANIEL CHRISTOPHER DOYLE and                             Case No.      18CV333609
                                                                                                                                                             KRISTIE LYNN DOYLE,
                                                                                                                                                          12                                                          COMPLAINT FOR PERSONAL
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                                                                                                                                                                            Plaintiffs,                               INJURIES AND LOSS OF CONSORTIUM
                                                                                                                                                          13
                                                                                                                                                                    v.                                                DEMAND FOR JURY TRIAL
                                                                                                                                                          14
                                                                                                                                                             IMERYS TALC AMERICA, INC., formerly
                                                                                                                                                          15 known as LUZENAC AMERICA, INC., and
                                                                                                                                                             formerly known as CYPRUS TALC
                                                                                                                                                          16 CORPORATION (sued individually and as
                                                                                                                                                             successor-in-interest to CYPRUS MINES
                                                                                                                                                          17 CORPORATION, CYPRUS INDUSTRIAL
                                                                                                                                                             MINERALS CORPORATION, and CYPRUS
                                                                                                                                                          18 WINDSOR MINERALS CORPORATION);
                                                                                                                                                          19 JOHNSON & JOHNSON;

                                                                                                                                                          20 JOHNSON & JOHNSON CONSUMER, INC.
                                                                                                                                                             (sued individually and as successor-in-interest to
                                                                                                                                                          21 JOHNSON & JOHNSON CONSUMER
                                                                                                                                                             COMPANIES, INC.);
                                                                                                                                                          22
                                                                                                                                                             CYPRUS MINES CORPORATION;
                                                                                                                                                          23
                                                                                                                                                             IMERYS TALC VERMONT, INC.; and
                                                                                                                                                          24
                                                                                                                                                             FIRST DOE through FIFTIETH DOE,
                                                                                                                                                          25
                                                                                                                                                                            Defendants.
                                                                                                                                                          26
                                                                                                                                                          27

                                                                                                                                                          28

                                                                                                                                                               1672776.1                                                                         EXHIBIT A
                                                                                                                                                                                        Complaint for Personal Injuries and Loss of Consortium
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                                                                                                                                                           1                        GENERAL BACKGROUND AND OTHER ALLEGATIONS
                                                                                                                                                           2                                                       I.
                                                                                                                                                           3               The Plaintiffs: Daniel Christopher Doyle is the physically injured Plaintiff. His
                                                                                                                                                           4 mesothelioma was caused by asbestos exposures for which Defendants bear responsibility. Kristie
                                                                                                                                                           5 Lynn Doyle is Mr. Doyle’s wife.

                                                                                                                                                           6                                                       II.
                                                                                                                                                           7               The Defendants: All Defendants are listed in the case caption. The true names of the DOE
                                                                                                                                                           8 Defendants are unknown to Plaintiffs. Each Defendant was the agent, employee, or joint venturer
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                                                                                                                                                           9 of its co-defendants, and was acting in the full course and scope of the agency, employment, or
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                                                                                                                                                          10 joint venture.
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                                                                                                                                                          11                                                       III.
                                                                                                                                                          12               Alternate Entities: All Defendants are individually liable for their own defective products
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                                                                                                                                                          13 and wrongful conduct; and some Defendants are liable for the defective products and wrongful

                                                                                                                                                          14 conduct of their alternate entities. Each such Defendant is liable for the torts of each of its alternate

                                                                                                                                                          15 entities based on the following:
                                                                                                                                                          16               •      There were express or implied agreements between the companies to
                                                                                                                                                                                  transfer and assume the liabilities;
                                                                                                                                                          17
                                                                                                                                                                           •      The transactions between the companies amounted to a consolidation or
                                                                                                                                                          18                      merger;

                                                                                                                                                          19               •      The purchasing company is a mere continuation of the seller;

                                                                                                                                                          20               •      The transfer of assets to the purchasing company was for the fraudulent
                                                                                                                                                                                  purpose of escaping liability for the seller’s debts;
                                                                                                                                                          21
                                                                                                                                                                           •      Strict products liability was transferred because (i) there was a virtual
                                                                                                                                                          22                      destruction of Plaintiff’s remedies against the original manufacturer caused
                                                                                                                                                                                  by the successor’s acquisition of the business, (ii) the successor has the
                                                                                                                                                          23                      ability to assume the original manufacturer’s risk-spreading role, and (iii) it
                                                                                                                                                                                  is fair to require the successor to assume responsibility for defective
                                                                                                                                                          24                      products that was a burden necessarily attached to the original
                                                                                                                                                                                  manufacturer’s good will being enjoyed by the successor in the continued
                                                                                                                                                          25                      operation of the business; and
                                                                                                                                                          26               •      The companies are alter egos because (i) there is such a unity of interest,
                                                                                                                                                                                  ownership, and business operations between the companies that their
                                                                                                                                                          27                      separate personalities do not in reality exist, and (ii) there would be an
                                                                                                                                                                                  inequitable result if the torts in question were treated as those of one
                                                                                                                                                          28                      company alone.

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                                                                                                                                                           1               The identities of the Defendants and their alternate entities are as follows:

                                                                                                                                                           2               Defendant                                              Alternate Entity
                                                                                                                                                                JOHNSON & JOHNSON CONSUMER,                           JOHNSON & JOHNSON CONSUMER
                                                                                                                                                           3    INC.                                                  COMPANIES, INC.
                                                                                                                                                                IMERYS TALC AMERICA, INC.                             LUZENAC AMERICA, INC.
                                                                                                                                                           4
                                                                                                                                                                                                                      CYPRUS TALC CORPORATION
                                                                                                                                                           5
                                                                                                                                                                                                                      CYPRUS MINES CORPORATION
                                                                                                                                                           6
                                                                                                                                                                                                                      CYPRUS INDUSTRIAL MINERALS
                                                                                                                                                           7                                                          CORPORATION
                                                                                                                                                           8                                                          CYPRUS WINDSOR MINERALS
                                                                                                                                                                                                                      CORPORATION
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                                                                                                                                                           9
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                                                                                                                                                          10                                                        IV.
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                                                                                                                                                          11               The Products: The Defendants and/or their predecessors have for many years,
                                                                                                                                                          12 manufactured, sold, distributed, designed, formulated, developed standards for, prepared,
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                                                                                                                                                          13 processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled,

                                                                                                                                                          14 and/or otherwise placed into the stream of commerce, asbestos-containing products, including talc

                                                                                                                                                          15 products.
                                                                                                                                                          16                                                        V.
                                                                                                                                                          17               The Asbestos Exposures: At all times since his birth on November 29, 1970, Mr. Doyle
                                                                                                                                                          18 was exposed to asbestos through his and his family members’ personal, daily use of Johnson &
                                                                                                                                                          19 Johnson’s asbestos-containing talc powder products. Mr. Doyle used Johnson & Johnson asbestos-

                                                                                                                                                          20 containing talc power products in California, Florida, Ohio, and Pennsylvania. Mr. Doyle was

                                                                                                                                                          21 exposed to Defendants’ asbestos in California because Defendants (i) marketed and sold their
                                                                                                                                                          22 asbestos-containing products in California, and (ii) engaged in asbestos-related conduct that

                                                                                                                                                          23 occurred in California. Mr. Doyle also was exposed to Defendants’ asbestos in other states

                                                                                                                                                          24 because Defendants (i) marketed and sold their asbestos-containing products in those states, and
                                                                                                                                                          25 (ii) engaged in asbestos-related conduct in those states.
                                                                                                                                                          26                                                        VI.
                                                                                                                                                          27               Venue: Venue is proper in Santa Clara County because some of the Defendants reside in
                                                                                                                                                          28 Santa Clara County. Specifically, the principal place of business of Defendant IMERYS TALC

                                                                                                                                                               1672776.1                                                 3
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                                                                                                                                                           1 AMERICA, INC. is in Santa Clara County.

                                                                                                                                                           2                                                        VII.
                                                                                                                                                           3               The Harm: In June 2018, Mr. Doyle was diagnosed with epithelial/sarcomatoid
                                                                                                                                                           4 mesothelioma, an incurable and inevitably fatal cancer that stems from his exposures to asbestos.
                                                                                                                                                           5 The mesothelioma also has caused, and will cause, Mr. Doyle to experience physical pain, mental

                                                                                                                                                           6 suffering, loss of enjoyment of life, disfigurement, physical impairment, inconvenience, grief,
                                                                                                                                                           7 anxiety, humiliation, emotional distress, and other similar harm. The mesothelioma has caused
                                                                                                                                                           8 economic loss, including loss of income and loss of earning capacity. And the mesothelioma will
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                                                                                                                                                           9 continue to inflict these harms on Mr. Doyle in the future, ceasing only when it causes his
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                                                                                                                                                          10 untimely death.
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                                                                                                                                                          11               Mr. Doyle’s injuries have caused, and will cause, Mrs. Doyle to experience loss of

                                                                                                                                                          12 consortium. Mrs. Doyle’s harm includes the loss of love, companionship, comfort, care,
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                                                                                                                                                          13 assistance, protection, affection, society, moral support, sexual relations, and other similar harm.

                                                                                                                                                          14               Plaintiffs rely on the liability theories described below.

                                                                                                                                                          15                   FIRST CAUSE OF ACTION FOR STRICT PRODUCTS LIABILITY
                                                                                                                                                          16                                                        I.
                                                                                                                                                          17               Design Defect: Defendants, and DOE Defendants 1-50, have for many years,
                                                                                                                                                          18 manufactured, sold, distributed, designed, formulated, developed standards for, prepared,
                                                                                                                                                          19 processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled,

                                                                                                                                                          20 and/or otherwise placed into the stream of commerce, asbestos-containing talc powder products.

                                                                                                                                                          21 First, these Defendants’ products were defective and unsafe for their intended purpose and
                                                                                                                                                          22 foreseeable use in that when used, handled, mixed, or otherwise disturbed, said products would

                                                                                                                                                          23 result in the release, and therefore inhalation of, hazardous and dangerous asbestos fibers by

                                                                                                                                                          24 exposed persons, including Mr. Doyle. Second, each product did not perform as safely as an
                                                                                                                                                          25 ordinary consumer would have expected it to perform when used or misused in an intended or
                                                                                                                                                          26 reasonably foreseeable way, because each product caused hazardous asbestos to become airborne.
                                                                                                                                                          27 Third, Mr. Doyle developed mesothelioma. Fourth, each product’s failure to perform safely was a
                                                                                                                                                          28 substantial factor contributing to Mr. Doyle’s risk of developing mesothelioma.

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                                                                                                                                                           1                                                       II.
                                                                                                                                                           2               Failure-to-Warn Defect: The Defendants, and DOE Defendants 1-50, are strictly liable
                                                                                                                                                           3 for their products’ failure-to-warn defects. First, these Defendants and/or their predecessors have

                                                                                                                                                           4 for many years, manufactured, sold, distributed, designed, formulated, developed standards for,
                                                                                                                                                           5 prepared, processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or

                                                                                                                                                           6 labeled, and/or otherwise placed into the stream of commerce, asbestos-containing talc powder
                                                                                                                                                           7 products. Second, each product had potential risks that were known or knowable in light of the
                                                                                                                                                           8 scientific and medical knowledge that was generally accepted in the scientific community at the
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                                                                                                                                                           9 time of design, manufacture, label, distribution, and sale. Third, the potential risks presented a
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                                                                                                                                                          10 substantial danger when each product was used or misused in an intended or reasonably
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                                                                                                                                                          11 foreseeable way, because each product caused hazardous asbestos to become airborne. Fourth,

                                                                                                                                                          12 ordinary consumers would not have recognized the potential risks. Fifth, these Defendants failed
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                                                                                                                                                          13 to adequately warn or instruct of the potential risks. Sixth, Mr. Doyle developed mesothelioma.

                                                                                                                                                          14 Seventh, the lack of sufficient warnings or instructions was a substantial factor contributing to

                                                                                                                                                          15 Mr. Doyle’s risk of developing mesothelioma.
                                                                                                                                                          16                                                       III.
                                                                                                                                                          17               Knowledge of Asbestos Hazards: The following facts are illustrative, but not exhaustive,
                                                                                                                                                          18 of the evolution of the knowledge of the health hazards of asbestos and what was known and
                                                                                                                                                          19 knowable to Defendants. Health hazards from asbestos exposure were identified in the 1890s.

                                                                                                                                                          20 During this time, the Lady Inspector of Factories in Great Britain noted that individuals working

                                                                                                                                                          21 with asbestos were suffering various lung injuries.
                                                                                                                                                          22               Defendants since the early 1900s possessed medical and scientific data that raised concerns

                                                                                                                                                          23 regarding the presence of asbestos in talcum powder and that demonstrated the existence of health

                                                                                                                                                          24 hazards to those exposed to asbestos-containing talcum powder products. Talc is a hydrous
                                                                                                                                                          25 magnesium silicate, an inorganic material that is mined from the earth. Talc is used in the
                                                                                                                                                          26 manufacture goods, such as paper, plastic, paint and coatings, rubber, food, electric cable,
                                                                                                                                                          27 ceramics, and cosmetics. In its loose form and as used in consumer powder products, talc is known
                                                                                                                                                          28 as “talcum powder.”

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                                                                                                                                                           1               Geologists and mining companies, including Defendants, have long known that the

                                                                                                                                                           2 deposits in the earth that are associated with talc are also associated with the formation of
                                                                                                                                                           3 asbestos. Asbestos is a commercial and legal term, rather than a geological or scientific term,

                                                                                                                                                           4 referring to six now-regulated magnesium silicate minerals that occur in fibrous form, including
                                                                                                                                                           5 the serpentine mineral chrysotile, and the amphibole minerals actinolite, anthophyllite, tremolite,

                                                                                                                                                           6 amosite, and crocidolite. The United States Geological Survey on Commercial Talc production in
                                                                                                                                                           7 1965, as well as those dating back to the 1800s in the United States, note the presence of tremolite,
                                                                                                                                                           8 anthophyllite, and chrysotile commonly among those minerals found within talc deposits.
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                                                                                                                                                           9               As early as the 1920s, the term “asbestosis” was used to describe pulmonary fibrosis
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                                                                                                                                                          10 caused by asbestos exposure. Case reports in Great Britain and the United States detailed
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                                                                                                                                                          11 asbestosis in various workers. By 1929, lawsuits for disability related to exposure to asbestos were

                                                                                                                                                          12 filed against Johns Manville.
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                                                                                                                                                          13               In the late 1930s, case reports were published addressing the relationship between asbestos

                                                                                                                                                          14 and cancer. In 1931, the United Kingdom allowed workers to receive compensation for asbestosis.

                                                                                                                                                          15 In 1936, California’s Division of Industrial Safety issued Safety Orders establishing the standard
                                                                                                                                                          16 of care for work with asbestos. The same year, the State of Illinois enacted legislation recognizing

                                                                                                                                                          17 asbestosis as a compensable occupational disease under its Occupational Disease Act.
                                                                                                                                                          18               In March of 1933, Waldemar C. Dreesen of the United States Public Health Service

                                                                                                                                                          19 reported to the National Safety Council the results of a study conducted among tremolite, talc, and

                                                                                                                                                          20 slate workers. The study indicated that the talc was a hydrous calcium magnesium silicate, being

                                                                                                                                                          21 45 percent talc and 45 percent tremolite, and the National Safety Council stated, “[t]he results of
                                                                                                                                                          22 the study seemed to indicate a relationship between the amount of dust inhaled and the effect of

                                                                                                                                                          23 this dust on the lungs of the workers.” As early as 1934, the National Safety Council was

                                                                                                                                                          24 publishing information stating that “a cause of severe pulmonary injury is asbestos, a silicate of
                                                                                                                                                          25 magnesium.” In the September 1935 issue of National Safety News, an article entitled No Halfway
                                                                                                                                                          26 Measures in Dust Control by Arthur S. Johnson reported lowered lung capacity resulting from
                                                                                                                                                          27 “asbestosis” and “similar conditions” that developed “from exposure to excess of many mineral
                                                                                                                                                          28 dusts relatively low in free silica content.” The article further noted that claims for disabilities

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                                                                                                                                                           1 from workers who alleged exposure to “clay, talc, emery, and carborundum dusts” had “claims

                                                                                                                                                           2 prosecuted successfully.” The article concluded that “[i]n the absence of adequate diagnoses,
                                                                                                                                                           3 occupational histories and a more satisfactory method of adjudicating claims than prosecution at

                                                                                                                                                           4 common law, we must conclude that it is necessary to find a practical method for controlling all
                                                                                                                                                           5 mineral dusts.”

                                                                                                                                                           6               By the 1940s, asbestos carcinogenicity was noted in reviews in fields of industrial

                                                                                                                                                           7 medicine, cancer research, and pneumoconiosis. In 1946, the American Conference of
                                                                                                                                                           8 Governmental Industrial Hygienists established a maximum allowable concentration for
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                                                                                                                                                           9 occupational exposure.
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                                                                                                                                                          10               During the 1940s and 1950s, asbestos hazards were discussed in popular magazines,
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                                                                                                                                                          11 including Scientific American (January 1949) and Newsweek (May 15, 1950), as well as the

                                                                                                                                                          12 Encyclopedia Britannica (1952). On April 7, 1959, the Los Angeles Times and Wall Street Journal
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                                                                                                                                                          13 reported that California health officials did additional research linking asbestos with cancer.

                                                                                                                                                          14 Following a number of subsequent reports in the New York Times, Paul Brodeur published a

                                                                                                                                                          15 series of articles in the New Yorker.
                                                                                                                                                          16               In addition, beginning in the 1940s and 1950s, it was recognized that individuals who

                                                                                                                                                          17 worked with asbestos materials, as well as those who did not work directly with asbestos products
                                                                                                                                                          18 but only had relatively brief or intermittent exposures to asbestos products, could develop fatal
                                                                                                                                                          19 asbestos diseases.

                                                                                                                                                          20               In 1955, Richard Doll published a study linking asbestos to lung cancer.

                                                                                                                                                          21               In 1960, Chris Wagner published a study linking asbestos to mesothelioma.

                                                                                                                                                          22               In the early 1960s, Dr. Irving Selikoff engaged in studies of groups of asbestos workers.

                                                                                                                                                          23 By 1965, he had conducted various studies, published several articles, conducted special scientific

                                                                                                                                                          24 symposia, been interviewed by the New York Times, and organized the international conference
                                                                                                                                                          25 on the “Biological Effects of Asbestos” under the auspices of the renowned New York Academy
                                                                                                                                                          26 of Sciences. The results of these presentations were published in Volume 132 of the Annals of the
                                                                                                                                                          27 New York Academy of Sciences published in 1965.
                                                                                                                                                          28               In 1968, a study presented at the American Industrial Hygiene Conference and published

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                                                                                                                                                           1 in the American Industrial Hygiene Association Journal concluded that “[a]ll of the 22 talcum

                                                                                                                                                           2 products analyzed have a ... fiber content ... averaging 19%. The fibrous material was
                                                                                                                                                           3 predominantly talc but contained minor amounts of tremolite, anthophyllite, and chrysotile as

                                                                                                                                                           4 these are often present in fibrous talc mineral deposits ... Unknown significant amounts of such
                                                                                                                                                           5 materials in products that may be used without precautions may create an unsuspected problem.”

                                                                                                                                                           6 [Cralley, L.J., et al., Fibrous and Mineral Content of Cosmetic Talcum Products, 29 Am. Ind.
                                                                                                                                                           7 Hyg. Assoc. J. 350 (1968).]
                                                                                                                                                           8               In 1969, product-liability lawsuits were brought against asbestos manufacturers. Under the
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                                                                                                                                                           9 Walsh Healy Act, federal contractors with contracts of more than $10,000 were required to adhere
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                                                                                                                                                          10 a workplace standard of no more than 12 fibers per cubic centimeter of air. In 1970, OSHA
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                                                                                                                                                          11 established the first Federal guidelines for workplace asbestos exposure, which took effect in

                                                                                                                                                          12 1971. In 1972, the American Conference of Governmental Industrial Hygienists listed asbestos as
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                                                                                                                                                          13 a carcinogen.

                                                                                                                                                          14               A 1976 follow-up study conducted by researchers at Mount Sinai Hospital in New York

                                                                                                                                                          15 concluded that “[t]he presence in these products of asbestiform anthophyllite and tremolite,
                                                                                                                                                          16 chrysotile, and quartz indicates the need for a regulatory standard for cosmetic talc...We also

                                                                                                                                                          17 recommend that evaluation be made to determine the possible health hazards associated with the
                                                                                                                                                          18 use of these products.” [Rohl, A.N., et al., Consumer Talcums and Powders: Mineral and
                                                                                                                                                          19 Chemical Characterization, 2 J. Toxicol. Environ. Health 255 (1976).] The results of the Mount

                                                                                                                                                          20 Sinai study were soon picked up and reported by both the New York Times and the Washington

                                                                                                                                                          21 Post that same year. The study and subsequent newspaper articles listed explicitly popular
                                                                                                                                                          22 consumer cosmetic talcum powders as containing high percentages of asbestos.

                                                                                                                                                          23               In the early 1970s, the U.S. Food and Drug Administration began an inquiry into whether
                                                                                                                                                          24 to regulate and require warnings on consumer talcum powder products. Defendants, who were part
                                                                                                                                                          25 of an exclusive lobbying and advocacy group representing companies engaged in the cosmetic
                                                                                                                                                          26 products industry, repeatedly conspired and worked in concert to block efforts to label and warn
                                                                                                                                                          27 consumers regarding the dangers associated with cosmetic talcum powder products.
                                                                                                                                                          28               Several reports, studies, and guidelines published as early as the 1930s, including

                                                                                                                                                               1672776.1                                               8
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                                                                                                                                                           1 California’s Dust, Fumes, Vapors, and Gases Safety Orders, all recognized that asbestos is a dust

                                                                                                                                                           2 which creates health hazards, and that certain precautions are required to mitigate human exposure
                                                                                                                                                           3 to dust. Such measures include, but are not limited to, using water to suppress the dust at its

                                                                                                                                                           4 source, as well as providing those who might be exposed to dust with adequate ventilation,
                                                                                                                                                           5 showers, and changing facilities. These same measures that were recommended to protect workers

                                                                                                                                                           6 from asbestosis in the 1930s would also have substantially reduced the risk that bystanders,
                                                                                                                                                           7 household members, and other persons would contract mesothelioma from inhaling asbestos-
                                                                                                                                                           8 containing dust that those who worked with and around asbestos and asbestos-containing products
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                                                                                                                                                           9 carried into their households on their person and personal effects. Defendants, and each of them,
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                                                                                                                                                          10 knew or should have known that anyone, including household members of those who used
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                                                                                                                                                          11 asbestos-containing products were at risk of developing an asbestos-related disease after inhaling

                                                                                                                                                          12 dust from such asbestos-containing products.
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                                                                                                                                                          13               All Defendants failed to place any warning on their talc and talcum powder products or ever

                                                                                                                                                          14 disclose the fact that these products contained asbestos at any point, up to and including present day,

                                                                                                                                                          15 despite the clear hazard and direct information that their products did contain asbestos.
                                                                                                                                                          16                            SECOND CAUSE OF ACTION FOR NEGLIGENCE
                                                                                                                                                          17                                                       I.
                                                                                                                                                          18               General Negligence: All Defendants, and DOE Defendants 1-50, are liable for their
                                                                                                                                                          19 general negligence. First, Defendants failed to use reasonable care to prevent harm to others,

                                                                                                                                                          20 because they caused hazardous asbestos to become airborne. Second, Defendants unreasonably

                                                                                                                                                          21 acted and failed to act. They acted in ways that a reasonably careful person would not do in the
                                                                                                                                                          22 same situation, and failed to act in ways that a reasonably careful person would do in the same

                                                                                                                                                          23 situation. Third, Mr. Doyle developed mesothelioma. Fourth, each Defendant’s general negligence

                                                                                                                                                          24 was a substantial factor contributing to Mr. Doyle’s risk of developing mesothelioma.
                                                                                                                                                          25                                                       II.
                                                                                                                                                          26               Negligent Design, Manufacture, Supply, Testing, Packaging, and Labeling of
                                                                                                                                                          27 Products: The Defendants, and DOE Defendants 1-50, are liable for their negligent design,
                                                                                                                                                          28 manufacture, marketing, supply, testing, packaging, and labeling of asbestos-containing talc

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                                                                                                                                                           1 powder products. First, these Defendants designed, manufactured, sold, distributed, formulated,

                                                                                                                                                           2 developed standards for, prepared, processed, assembled, tested, listed, certified, marketed,
                                                                                                                                                           3 advertised, packaged and/or labeled, and/or otherwise placed into the stream of commerce,

                                                                                                                                                           4 asbestos-containing talc powder products. Second, these Defendants were negligent in
                                                                                                                                                           5 manufacturing, selling, distributing, developing standards for, processing, assembling, testing,

                                                                                                                                                           6 certifying, marketing, advertising, packaging and/or labeling, and/or otherwise placing into the
                                                                                                                                                           7 stream of commerce, asbestos-containing talc powder products because they caused hazardous
                                                                                                                                                           8 asbestos to become airborne. They failed to use the amount of care that a reasonably careful
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                                                                                                                                                           9 person would use in similar circumstances to avoid exposing others to a foreseeable risk of harm.
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                                                                                                                                                          10 Third, Mr. Doyle developed mesothelioma. Fourth, each Defendant’s negligence was a substantial
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                                                                                                                                                          11 factor contributing to Mr. Doyle’s risk of developing mesothelioma.

                                                                                                                                                          12                                                      III.
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                                                                                                                                                          13               Negligent Failure to Warn about Products: The Defendants, and DOE Defendants 1-50,
                                                                                                                                                          14 are liable for their negligent failure to warn about their products. First, these Defendants designed,

                                                                                                                                                          15 manufactured, marketed, distributed, packaged, labeled, and sold asbestos-containing talc powder
                                                                                                                                                          16 products. Second, these Defendants knew or reasonably should have known that each product was

                                                                                                                                                          17 dangerous or was likely to be dangerous when used or misused in a reasonably foreseeable
                                                                                                                                                          18 manner, because each product caused hazardous asbestos to become airborne. Third, these
                                                                                                                                                          19 Defendants knew or reasonably should have known that users would not realize the danger.

                                                                                                                                                          20 Fourth, these Defendants failed to adequately warn of the danger or instruct on the safe use of each

                                                                                                                                                          21 product. Fifth, a reasonably careful person under the same or similar circumstances would have
                                                                                                                                                          22 warned of the danger or instructed on the safe use of each product. Sixth, Mr. Doyle developed

                                                                                                                                                          23 mesothelioma. Seventh, each Defendant’s negligent failure to warn or instruct was a substantial

                                                                                                                                                          24 factor contributing to Mr. Doyle’s risk of developing mesothelioma.
                                                                                                                                                          25                                                      IV.
                                                                                                                                                          26               Negligent Failure to Recall and Retrofit Products: The Defendants, and DOE
                                                                                                                                                          27 Defendants 1-50, are liable for their negligent failure to recall and retrofit their products. First,
                                                                                                                                                          28 these Defendants designed, manufactured, marketed, distributed, packaged, labeled, and sold

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                                                                                                                                                           1 asbestos-containing talc powder products. Second, these Defendants knew or reasonably should

                                                                                                                                                           2 have known that each product was dangerous or was likely to be dangerous when used in a
                                                                                                                                                           3 reasonably foreseeable manner, because each product caused hazardous asbestos to become

                                                                                                                                                           4 airborne. Third, these Defendants became aware of this defect after each product was sold. Fourth,
                                                                                                                                                           5 these Defendants failed to recall and retrofit each product. Fifth, a reasonably careful person under

                                                                                                                                                           6 the same or similar circumstances would have recalled and retrofitted each product. Sixth,
                                                                                                                                                           7 Mr. Doyle developed mesothelioma. Seventh, each Defendant’s negligent failure to recall and
                                                                                                                                                           8 retrofit each product was a substantial factor contributing to Mr. Doyle’s risk of developing
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                                                                                                                                                           9 mesothelioma.
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                                                                                                                                                          10                                 THIRD CAUSE OF ACTION FOR FRAUD
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                                                                                                                                                          11                                                       I.
                                                                                                                                                          12               Fraudulent Misrepresentation: All Defendants, and DOE Defendants 1-50, are liable for
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                                                                                                                                                          13 their fraudulent misrepresentations.

                                                                                                                                                          14               First, each of these Defendants, via its employees, agents, advertisements, or any other

                                                                                                                                                          15 authorized person or document, represented that certain facts were true when they were not. The
                                                                                                                                                          16 specific identities of these employees, agents, advertisements, or any other authorized person or

                                                                                                                                                          17 document are maintained in Defendants’ records. Such records remain in the exclusive control of
                                                                                                                                                          18 Defendants pursuant to Defendants’ respective document-retention policies. While Plaintiffs do
                                                                                                                                                          19 not currently know the specific advertisements or names of the employees, agents, or any other

                                                                                                                                                          20 authorized person who made the representations, they will have access to this information once

                                                                                                                                                          21 discovery has commenced and will be able to specifically name the advertisement as well as the
                                                                                                                                                          22 employee, agent, or any other authorized person.

                                                                                                                                                          23               Second, Defendants represented that the products they manufactured, supplied, or specified
                                                                                                                                                          24 for use were not hazardous to humans. These representations were made before and during the
                                                                                                                                                          25 years that Mr. Doyle purchased and was exposed to asbestos from Defendants’ talc powder
                                                                                                                                                          26 products. Such representations were made either directly to Mr. Doyle, or to a third party
                                                                                                                                                          27 intending and reasonably expecting that the substances of these misrepresentations would be
                                                                                                                                                          28 repeated to Mr. Doyle.

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                                                                                                                                                           1               Third, Defendants knew that the representations were false when they made them, or they

                                                                                                                                                           2 made the representations recklessly and without regard for their truth.
                                                                                                                                                           3               Fourth, Defendants intended that Mr. Doyle and/or the same class of persons as Mr. Doyle

                                                                                                                                                           4 rely on the representations or their substance.
                                                                                                                                                           5               Fifth, Mr. Doyle reasonably relied on Defendants’ representations or the substance of these

                                                                                                                                                           6 representations.
                                                                                                                                                           7               Sixth, Mr. Doyle developed mesothelioma.

                                                                                                                                                           8               Seventh, Mr. Doyle’s reliance on these representations was a substantial factor
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                                                                                                                                                           9 contributing to Mr. Doyle’s risk of developing mesothelioma.
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                                                                                                                                                          10                                                       II.
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                                                                                                                                                          11               Fraudulent Concealment (Nondisclosure): All Defendants, and DOE Defendants 1-50,
                                                                                                                                                          12 are liable for their fraudulent concealment (nondisclosure).
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                                                                                                                                                          13               First, each of these Defendants made affirmative statements that were so misleading (e.g.

                                                                                                                                                          14 misleading “half-truths”) that they gave rise to a fraud cause of action even in the absence of a

                                                                                                                                                          15 specific relationship or transaction as between Defendants and Mr. Doyle. Specifically,
                                                                                                                                                          16 Defendants stated that their products could be used safely while concealing they were in fact lethal

                                                                                                                                                          17 because they contained and released asbestos fibers.
                                                                                                                                                          18               Second, Defendants (i) had exclusive knowledge of material facts not known to Mr. Doyle

                                                                                                                                                          19 (as set forth above), (ii) actively concealed these material facts from Mr. Doyle, (iii) made partial

                                                                                                                                                          20 representations but also suppressed material facts, as set forth above, and (iv) made factual

                                                                                                                                                          21 representations, but did not disclose facts which materially qualified those representations. Such
                                                                                                                                                          22 nondisclosures included Defendants representing their products as safe when used as intended and

                                                                                                                                                          23 as fit for the particular purpose for which they were marketed, while not disclosing the facts that

                                                                                                                                                          24 these products contained asbestos that would become airborne during the intended and foreseeable
                                                                                                                                                          25 use of the products, rendering them dangerous and unfit for their intended purpose.
                                                                                                                                                          26               Third, each Defendant entered into a relationship and/or a transaction with Mr. Doyle
                                                                                                                                                          27 sufficient to give rise to a duty to disclose. For example, Mr. Doyle used or otherwise encountered
                                                                                                                                                          28 Defendants’ products that were purchased either directly from Defendants, Defendants’ authorized

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                                                                                                                                                           1 dealer or supplier, or any other entity upon which Defendants derived a direct monetary benefit

                                                                                                                                                           2 directly from Mr. Doyle’s purchase and use of the products. As for another example, Defendants
                                                                                                                                                           3 directly advertised their products to those in California and elsewhere, as a symbol of freshness,

                                                                                                                                                           4 cleanliness, and purity. Defendants advertised and marketed this product as the beacon of
                                                                                                                                                           5 “freshness” and “comfort”, eliminating friction on the skin, absorbing “excess wetness” helping

                                                                                                                                                           6 keep skin feeling dry and comfortable, and “clinically proven gentle and mild.” The Defendants
                                                                                                                                                           7 compelled men and women through advertisements to dust themselves with this product to mask
                                                                                                                                                           8 odors. Defendants derived direct monetary benefit from these individuals’ use of these products
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                                                                                                                                                           9 because Mr. Doyle decided to use or purchase Defendants’ products.
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                                                                                                                                                          10               Fourth, Mr. Doyle did not know of the concealed facts.
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                                                                                                                                                          11               Fifth, Defendants intended to deceive Mr. Doyle by concealing the facts, and/or by making

                                                                                                                                                          12 certain representations without disclosing additional facts that would have materially qualified
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                                                                                                                                                          13 those representations.

                                                                                                                                                          14               Sixth, had the omitted information been disclosed, Mr. Doyle reasonably would have

                                                                                                                                                          15 behaved differently.
                                                                                                                                                          16               Seventh, Mr. Doyle developed mesothelioma.

                                                                                                                                                          17               Eighth, each Defendant’s concealment was a substantial factor contributing to Mr. Doyle’s

                                                                                                                                                          18 risk of developing mesothelioma.
                                                                                                                                                          19                                                       III.
                                                                                                                                                          20               Conspiracy to Commit Fraudulent Misrepresentation: Plaintiffs hereby incorporate by
                                                                                                                                                          21 reference the allegations of Paragraph I of this Third Cause of Action as if fully stated herein.
                                                                                                                                                          22               All Defendants, and DOE Defendants 1-50, are liable for their conspiracy to commit

                                                                                                                                                          23 fraudulent misrepresentation. First, Defendants were aware that their conspirators, which included

                                                                                                                                                          24 all co-Defendants and others, planned to commit fraudulent misrepresentation against Mr. Doyle.
                                                                                                                                                          25 Second, Defendants agreed with their conspirators and intended that the fraudulent
                                                                                                                                                          26 misrepresentation be committed. Third, Mr. Doyle developed mesothelioma. Fourth, each
                                                                                                                                                          27 Defendant’s participation in the conspiracy was a substantial factor contributing to Mr. Doyle’s
                                                                                                                                                          28 risk of developing mesothelioma.

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                                                                                                                                                           1                                                       IV.
                                                                                                                                                           2               Conspiracy to Commit Fraudulent Concealment (Nondisclosure): Plaintiffs hereby
                                                                                                                                                           3 incorporate by reference the allegations of Paragraph II of this Third Cause of Action as if fully

                                                                                                                                                           4 stated herein.
                                                                                                                                                           5               All Defendants, and DOE Defendants 1-50, are liable for their conspiracy to commit

                                                                                                                                                           6 fraudulent concealment. First, Defendants were aware that their conspirators, which included all
                                                                                                                                                           7 co-Defendants and others, planned to commit fraudulent concealment against Mr. Doyle. Second,
                                                                                                                                                           8 Defendants agreed with their conspirators and intended that the fraudulent concealment be
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                                                                                                                                                           9 committed. Third, Mr. Doyle developed mesothelioma. Fourth, each Defendant’s participation in
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                                                                                                                                                          10 the conspiracy was a substantial factor contributing to Mr. Doyle’s risk of developing
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                                                                                                                                                          11 mesothelioma.

                                                                                                                                                          12                                                       V.
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                                                                                                                                                          13               Knowledge of Hazards: At all times pertinent hereto, all Defendants, including DOE
                                                                                                                                                          14 Defendants 1-50, owed Mr. Doyle a duty, as provided for in Civil Code sections 1708, 1709, and

                                                                                                                                                          15 1710, to abstain from injuring his person, property, or rights. In violation of that duty, these
                                                                                                                                                          16 Defendants, and each of them, did do the acts and omissions, when a duty to act was imposed, as

                                                                                                                                                          17 set forth herein, thereby proximately causing injury to Mr. Doyle. Such acts and omissions
                                                                                                                                                          18 consisted of acts falling within Civil Code section 1710, and more specifically were (i)
                                                                                                                                                          19 suggestions of fact which were not true and which the Defendants did not believe to be true, (ii)

                                                                                                                                                          20 assertions of fact of that which was not true, which the Defendants had no reasonable ground for

                                                                                                                                                          21 believing it to be true, and (iii) the suppression of facts when a duty existed to disclose it, all as are
                                                                                                                                                          22 more fully set forth herein, and the violation of which as to any one such item gave rise to a cause

                                                                                                                                                          23 of action for violation of Mr. Doyle’s rights as provided for in the aforementioned code sections.

                                                                                                                                                          24               Since 1924, all of the Defendants have known and possessed of the true facts (consisting of
                                                                                                                                                          25 medical and scientific data and other knowledge) which clearly indicated that the materials and
                                                                                                                                                          26 products referred to herein were and are hazardous to the health and safety of Mr. Doyle, and
                                                                                                                                                          27 others similarly situated. Defendants engaged in the following acts and omissions:
                                                                                                                                                          28               (a)    Did not label any of the aforementioned asbestos-containing materials and

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                                                                                                                                                           1                     products as to the hazards of such materials and products to the health and
                                                                                                                                                                                 safety of Mr. Doyle, and others in their position using these products when
                                                                                                                                                           2                     the knowledge of such hazards was existing and known to Defendants, and
                                                                                                                                                                                 each of them, since 1924. By not labeling such materials as to their said
                                                                                                                                                           3                     hazards, Defendants, and each of them, caused to be suggested as a fact to
                                                                                                                                                                                 Mr. Doyle that it was safe for his to use such materials, when in fact these
                                                                                                                                                           4                     things were not true and Defendants did not believe them to be true.

                                                                                                                                                           5               (b)   Suppressed information relating to the danger of using the aforementioned
                                                                                                                                                                                 materials by requesting the suppression of information to Mr. Doyle, and
                                                                                                                                                           6                     the general public concerning the dangerous nature of the aforementioned
                                                                                                                                                                                 materials to all persons, including users, bystanders and household
                                                                                                                                                           7                     members, by not allowing such information to be disseminated in a manner
                                                                                                                                                                                 which would give general notice to the public and knowledge of the
                                                                                                                                                           8                     hazardous nature thereof when Defendants were bound to disclose such
                                                                                                                                                                                 information.
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                                                                                                                                                           9
                                                                                                                                                                           (c)   Sold the aforementioned products and materials to the public, including
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                                                                                                                                                          10                     Mr. Doyle, and others in California and other states without advising them
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                                                                                                                                                                                 of the dangers of use of such materials and to those persons’ household
                                                                                                                                                          11                     members, when Defendants knew of such dangers, as set forth herein and
                                                                                                                                                                                 above, and had a duty to disclose such dangers. Thus, Defendants caused to
                                                                                                                                                          12                     be positively asserted to Mr. Doyle, and the public that which was not true
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                                                                                                                                                                                 and which Defendants had no reasonable ground for believing it to be true,
                                                                                                                                                          13                     in a manner not warranted by the information possessed by said Defendants,
                                                                                                                                                                                 and each of them, of that which was and is not true, to wit, that it was safe
                                                                                                                                                          14                     for Mr. Doyle to use such materials and that it did not pose a risk of harm.

                                                                                                                                                          15               (d)   Suppressed and continue to suppress from everyone, including Mr. Doyle,
                                                                                                                                                                                 medical, scientific data, and knowledge of the accurate results of studies
                                                                                                                                                          16                     including, but not limited to, Waldemar C. Dreesen of the United States
                                                                                                                                                                                 Public Health Service’s 1933 report to the National Safety Council the
                                                                                                                                                          17                     results of a study conducted among tremolite, talc and slate workers. The
                                                                                                                                                                                 study indicated that the talc was a hydrous calcium magnesium silicate,
                                                                                                                                                          18                     being 45 percent talc and 45 percent tremolite, and the National Safety
                                                                                                                                                                                 Council stated “The results of the study seemed to indicate a relationship
                                                                                                                                                          19                     between the amount of dust inhaled and the effect of this dust on the lungs
                                                                                                                                                                                 of the workers.” As early as 1934, the National Safety Council was
                                                                                                                                                          20                     publishing information stating that “a cause of severe pulmonary injury is
                                                                                                                                                                                 asbestos, a silicate of magnesium.” In the September 1935 issue of National
                                                                                                                                                          21                     Safety News, an article entitled No Halfway Measures in Dust Control by
                                                                                                                                                                                 Arthur S. Johnson reported lowered lung capacity resulting from
                                                                                                                                                          22                     “asbestosis” and “similar conditions” that developed “from exposure to
                                                                                                                                                                                 excess of many mineral dusts relatively low in free silica content.” The
                                                                                                                                                          23                     article further noted that claims for disabilities from workers who alleged
                                                                                                                                                                                 exposure to “clay, talc, emery, and carborundum dusts” had “claims
                                                                                                                                                          24                     prosecuted successfully.” The article concluded that “[i]n the absence of
                                                                                                                                                                                 adequate diagnoses, occupational histories and a more satisfactory method
                                                                                                                                                          25                     of adjudicating claims than prosecution at common law, we must conclude
                                                                                                                                                                                 that it is necessary to find a practical method for controlling all mineral
                                                                                                                                                          26                     dusts.”
                                                                                                                                                          27               (e)   Belonged to, participated in, and financially supported the Industrial
                                                                                                                                                                                 Hygiene Foundation, Asbestos Information Association, the Asbestos
                                                                                                                                                          28                     Textile Institute (ATI), and other industry organizations, including the

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                                                                                                                                                           1                     Cosmetic, Toiletry, and Fragrance Association (now known as the Personal
                                                                                                                                                                                 Care Products Council), which actively promoted the suppression of
                                                                                                                                                           2                     information of danger to users of the aforementioned products and materials
                                                                                                                                                                                 for and on behalf of Defendants, and each of them, thereby misleading
                                                                                                                                                           3                     Mr. Doyle to their prejudice through the suggestions and deceptions set
                                                                                                                                                                                 forth above in this cause of action. ATI’s Dust Control Committee, which
                                                                                                                                                           4                     changed its name to the Air Hygiene Committee of ATI, was specifically
                                                                                                                                                                                 enjoined to study the subject of dust control; discussions in such committee
                                                                                                                                                           5                     were held many times of (i) the dangers inherent in asbestos and the dangers
                                                                                                                                                                                 which arise from the lack of control of dust and (ii) the suppression of such
                                                                                                                                                           6                     information from 1946 to a date unknown to plaintiff at this time.

                                                                                                                                                           7               (f)   Knew and possessed medical and scientific information of the connection
                                                                                                                                                                                 between inhalation of asbestos fibers and asbestosis in 1930 with the study
                                                                                                                                                           8                     of mine and mill workers at the Thetford asbestos mines in Quebec,
                                                                                                                                                                                 Canada, and the study of workers at Raybestos-Manhattan plants in
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                                                                                                                                                           9                     Manheim and Charleston, South Carolina. This information was
                                                                                                                                                                                 disseminated through the ATI and other industry organizations to all other
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                                                                                                                                                          10                     Defendants, and each of them, herein. Between 1942 and 1950, Defendants,
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                                                                                                                                                                                 and each of them, knew and possessed medical and scientific information of
                                                                                                                                                          11                     the connection between inhalation of asbestos fibers and cancer, which
                                                                                                                                                                                 information was disseminated through the ATI and other industry
                                                                                                                                                          12                     organizations to all other Defendants herein. Thereby, Defendants
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                                                                                                                                                                                 suggested as fact that which is not true and disseminated other facts likely
                                                                                                                                                          13                     to and did mislead Mr. Doyle for want of communication of true facts,
                                                                                                                                                                                 which consisted of the previously described medical and scientific data and
                                                                                                                                                          14                     other knowledge by not giving Mr. Doyle the true facts concerning such
                                                                                                                                                                                 knowledge of danger, when Defendants were bound to disclose it.
                                                                                                                                                          15
                                                                                                                                                          16               (g)   Failed to warn Mr. Doyle and others similarly situated regarding the nature
                                                                                                                                                                                 of Defendants’ talcum products. In 1968, a study presented at the American
                                                                                                                                                          17                     Industrial Hygiene Conference and published in the American Industrial
                                                                                                                                                                                 Hygiene Association Journal concluded that “[a]ll of the 22 talcum products
                                                                                                                                                          18                     analyzed have a…fiber content…averaging 19%. The fibrous material was
                                                                                                                                                                                 predominantly talc but contained minor amounts of tremolite, anthophyllite,
                                                                                                                                                          19                     and chrysotile as these are often present in fibrous talc mineral
                                                                                                                                                                                 deposits…Unknown significant amounts of such materials in products that
                                                                                                                                                          20                     may be used without precautions may create an unsuspected problem.”
                                                                                                                                                                                 [Cralley, L.J., et al., Fibrous and Mineral Content of Cosmetic Talcum
                                                                                                                                                          21                     Products, 29 Am. Ind. Hyg. Assoc. J. 350 (1968).] Defendants failed to
                                                                                                                                                                                 warn Mr. Doyle and others similarly situated that their talcum products are,
                                                                                                                                                          22                     among other things, dangerous when breathed and causes pathological
                                                                                                                                                                                 effects without noticeable trauma, although Defendants possessed
                                                                                                                                                          23                     knowledge that such material was dangerous and a threat to the health of
                                                                                                                                                                                 persons coming into contact therewith and under a duty to disclose it.
                                                                                                                                                          24
                                                                                                                                                          25               (h)   Concealed from Mr. Doyle, and others similarly situated the true nature of
                                                                                                                                                                                 their exposure, the fact that Defendants knew that exposure to respirable
                                                                                                                                                          26                     asbestos meant that Mr. Doyle would inhale this asbestos, significantly
                                                                                                                                                                                 increasing his risk of developing asbestosis, lung cancer, and mesothelioma;
                                                                                                                                                          27                     that Mr. Doyle that had in fact been exposed to respirable asbestos; that the
                                                                                                                                                                                 materials to which Mr. Doyle was exposed would cause pathological effects
                                                                                                                                                          28                     in the human body without noticeable or perceptible trauma to warn him of

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                                                                                                                                                           1                      injury; and Defendants engaged in these acts and omissions while under a
                                                                                                                                                                                  duty to and bound to disclose this information.
                                                                                                                                                           2
                                                                                                                                                           3               (i)    Failed to provide information to the public at large and buyers, users and
                                                                                                                                                                                  physicians of Mr. Doyle for the purpose of conducting physical
                                                                                                                                                           4                      examinations of anyone whom came in contact with asbestos as to the true
                                                                                                                                                                                  nature of the hazards of asbestos, in order for such physicians to diagnose,
                                                                                                                                                           5                      and treat individuals coming into contact with asbestos, in that the materials
                                                                                                                                                                                  to which Mr. Doyle had been exposed would cause pathological effects
                                                                                                                                                           6                      without noticeable trauma, even though Defendants were under a duty to
                                                                                                                                                                                  supply such information and such failure was and is likely to mislead
                                                                                                                                                           7                      persons including Mr. Doyle as to the dangers and risk of harm to which
                                                                                                                                                                                  they were exposed.
                                                                                                                                                           8
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                                                                                                                                                           9               (j)    Affirmatively misrepresented that asbestos-containing products were safe to
                                                                                                                                                                                  use and handle, when Defendants knew such statements were false when
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                                                                                                                                                          10                      made, or made said false statements recklessly and without regard for
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                                                                                                                                                                                  whether the statements were true.
                                                                                                                                                          11

                                                                                                                                                          12               Each of the foregoing acts, suggestions, assertions, and forbearances to act when a duty
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                                                                                                                                                          13 existed to act, the said Defendants, and each of them, having such knowledge, knowing Mr. Doyle

                                                                                                                                                          14 did not have such knowledge and would breathe such material innocently, was done falsely and

                                                                                                                                                          15 fraudulently and with full intent to induce Mr. Doyle to work in a dangerous environment and to
                                                                                                                                                          16 cause them to remain unaware of the true facts, all in violation of Civil Code section 1710.

                                                                                                                                                          17                                     BASIS FOR PUNITIVE DAMAGES
                                                                                                                                                          18                                                       I.
                                                                                                                                                          19               Malice, Oppression, and Fraud: Plaintiffs hereby incorporate by reference the allegations
                                                                                                                                                          20 of all causes of action as if fully stated herein. All Defendants, and DOE Defendants 1-50, are

                                                                                                                                                          21 liable for punitive damages because they engaged in the conduct that caused Mr. Doyle’s harm
                                                                                                                                                          22 with malice, oppression, or fraud.

                                                                                                                                                          23               First, these Defendants committed malice in that they acted with intent to harm when they
                                                                                                                                                          24 caused Mr. Doyle’s asbestos exposures, and because their conduct was despicable and was done
                                                                                                                                                          25 with a willful and knowing disregard of the rights and safety of others.
                                                                                                                                                          26               Second, these Defendants committed oppression in that their conduct was despicable and
                                                                                                                                                          27 subjected Mr. Doyle to cruel and unjust hardship in knowing disregard of his rights.
                                                                                                                                                          28               Third, the Defendants committed fraud in that they intentionally and fraudulently

                                                                                                                                                               1672776.1                                                17
                                                                                                                                                                                             Complaint for Personal Injuries and Loss of Consortium
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   1   concealed and misrepresented material facts and did so intending to harm Mr. Doyle and with

   2   reckless disregard for whether their fraud would harm Mr. Doyle.

   3               These Defendants' conduct constituting malice, oppression, and fraud was committed by,

   4   authorized by, and adopted by one or more officers, directors, and managing agents within the

   5   corporate hierarchy of each Defendant, who acted on behalf of each Defendant.

   6                                            PRAYER FORDAMAGES

   7                                                           I.
   8               Plaintiffs pray for judgment against all Defendants for:

   9               1.      All economic and non-economic compensatory damages in excess of $25,000;

                   2.      Punitive damages according to proof;

                   3.      Pre- and post-judgment interest;

                   4.      Costs of suit; and

                   5.      Such other relief as is fair, just, and equitable.

                                                DEMAND FORJURY TRIAL

                                                               I.

                   Plaintiffs hereby demand a trial by jury on all issues so triable.



  18   DATED: August 27, 2018                            KAZAN, McCLAIN, SATTERLEY & GREENWOOD
                                                         A Professional Law Corporation
  19

  20
                                                         By:
  21
                                                                    Joseph D. atterley
  22                                                                Denyse F. Clancy

  23                                                     Attorneys for Plaintiffs

  24
  25

  26

  27

  28

       1672776.l                                                    18
                                       Complaint for Personal Injuries and Loss of Consortium
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                       Exhibit                 B
                                                                                                                                                                                                          18CV333609
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                                                                                                                                                                                Santa Clara – Civil Entered 07/19/22 18:21:45                                     Desc
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                                                                                                                                                           1 Joseph D. Satterley (C.S.B. #286890)                                    by Superior Court of CA,
                                                                                                                                                              jsatterley@kazanlaw.com
                                                                                                                                                           2 Denyse F. Clancy (C.S.B. #255276)                                       County of Santa Clara,
                                                                                                                                                              dclancy@kazanlaw.com                                                   on 3/11/2019 9:15 AM
                                                                                                                                                           3 Ian A. Rivamonte (C.S.B. #232663)                                       Reviewed By: R. Walker
                                                                                                                                                              irivamonte@kazanlaw.com                                                Case #18CV333609
                                                                                                                                                           4 KAZAN, McCLAIN, SATTERLEY & GREENWOOD                                   Envelope: 2608647
                                                                                                                                                             A Professional Law Corporation
                                                                                                                                                           5 Jack London Market
                                                                                                                                                             55 Harrison Street, Suite 400
                                                                                                                                                           6 Oakland, California 94607
                                                                                                                                                             Telephone: (510) 302-1000
                                                                                                                                                           7 Facsimile: (510) 835-4913

                                                                                                                                                           8 Attorneys for Plaintiffs
                                                                         Jack London Market • 55 Harrison Street, Suite 400 • Oakland, California 94607




                                                                                                                                                           9                                    SUPERIOR COURT OF CALIFORNIA
Kazan, McClain, Satterley & Greenwood




                                                                                                                                                          10                                         COUNTY OF SANTA CLARA
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                                                                                                                                                          11 KRISTIE LYNN DOYLE (individually and as                      Case No. 18CV333609
                                                                                                                                                             successor-in-interest to decedent DANIEL
                                                                                                                                                          12 CHRISTOPHER DOYLE) and ETHAN                                 FIRST AMENDED COMPLAINT FOR
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                                                                                                                                                             DOYLE (a minor, by his Guardian Ad Litem                     PERSONAL INJURIES (SURVIVORSHIP)
                                                                                                                                                          13 JEFFERY DUANE YORS),                                         AND WRONGFUL DEATH
                                                                                                                                                          14                    Plaintiffs,                               DEMAND FOR JURY TRIAL
                                                                                                                                                          15               v.

                                                                                                                                                          16 IMERYS TALC AMERICA, INC., formerly
                                                                                                                                                             known as LUZENAC AMERICA, INC., and
                                                                                                                                                          17 formerly known as CYPRUS TALC
                                                                                                                                                             CORPORATION (sued individually and as
                                                                                                                                                          18 successor-in-interest to CYPRUS MINES
                                                                                                                                                             CORPORATION, CYPRUS INDUSTRIAL
                                                                                                                                                          19 MINERALS CORPORATION, and CYPRUS
                                                                                                                                                             WINDSOR MINERALS CORPORATION);
                                                                                                                                                          20
                                                                                                                                                             JOHNSON & JOHNSON;
                                                                                                                                                          21
                                                                                                                                                             JOHNSON & JOHNSON CONSUMER, INC.
                                                                                                                                                          22 (sued individually and as successor-in-interest to
                                                                                                                                                             JOHNSON & JOHNSON CONSUMER
                                                                                                                                                          23 COMPANIES, INC.);

                                                                                                                                                          24 CYPRUS MINES CORPORATION;

                                                                                                                                                          25 IMERYS TALC VERMONT, INC.; and

                                                                                                                                                          26 FIRST DOE through FIFTIETH DOE,

                                                                                                                                                          27                    Defendants.

                                                                                                                                                          28

                                                                                                                                                               1705754.1                                                                                    EXHIBIT B
                                                                                                                                                                                First Amended Complaint for Personal Injuries (Survivorship) and Wrongful Death
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                                                                                                                                                           1                        GENERAL BACKGROUND AND OTHER ALLEGATIONS
                                                                                                                                                           2                                                         I.
                                                                                                                                                           3               The Plaintiffs: Daniel Christopher Doyle died from mesothelioma on December 20, 2018.
                                                                                                                                                           4 Mr. Doyle’s mesothelioma was caused by exposures to asbestos, asbestiform fibers, and

                                                                                                                                                           5 asbestiform talc for which Defendants bear responsibility. Plaintiff Kristie Lynn Doyle is the

                                                                                                                                                           6 successor in interest to Mr. Doyle as defined under Code of Civil Procedure sections 377.11,

                                                                                                                                                           7 377.20, and 377.30. [See Exhibit A hereto.] Plaintiff Ethan Doyle is Mr. Doyle’s minor son whose

                                                                                                                                                           8 guardian ad litem is Jeffrey Duane Yors pursuant to this Court’s order of January 25, 2019.
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                                                                                                                                                           9                                                         II.
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                                                                                                                                                          10               The Defendants: All Defendants are listed in the case caption. The true names of the DOE
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                                                                                                                                                          11 Defendants are unknown to Plaintiffs. Each Defendant was the agent, employee, or joint venturer

                                                                                                                                                          12 of its co-defendants, and was acting in the full course and scope of the agency, employment, or
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                                                                                                                                                          13 joint venture.

                                                                                                                                                          14                                                         III.
                                                                                                                                                          15               Alternate Entities: All Defendants are individually liable for their own defective products
                                                                                                                                                          16 and wrongful conduct; and some Defendants are liable for the defective products and wrongful

                                                                                                                                                          17 conduct of their alternate entities. Each such Defendant is liable for the torts of each of its alternate

                                                                                                                                                          18 entities based on the following:
                                                                                                                                                          19               •      There were express or implied agreements between the companies to
                                                                                                                                                                                  transfer and assume the liabilities;
                                                                                                                                                          20
                                                                                                                                                                           •      The transactions between the companies amounted to a consolidation or
                                                                                                                                                          21                      merger;

                                                                                                                                                          22               •      The purchasing company is a mere continuation of the seller;

                                                                                                                                                          23               •      The transfer of assets to the purchasing company was for the fraudulent
                                                                                                                                                                                  purpose of escaping liability for the seller’s debts;
                                                                                                                                                          24
                                                                                                                                                                           •      Strict products liability was transferred because (i) there was a virtual
                                                                                                                                                          25                      destruction of Plaintiffs’ remedies against the original manufacturer caused
                                                                                                                                                                                  by the successor’s acquisition of the business, (ii) the successor has the
                                                                                                                                                          26                      ability to assume the original manufacturer’s risk-spreading role, and (iii) it
                                                                                                                                                                                  is fair to require the successor to assume responsibility for defective
                                                                                                                                                          27                      products that was a burden necessarily attached to the original
                                                                                                                                                                                  manufacturer’s good will being enjoyed by the successor in the continued
                                                                                                                                                          28                      operation of the business; and

                                                                                                                                                               1705754.1                                                   2
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                                                                                                                                                           1               •      The companies are alter egos because (i) there is such a unity of interest,
                                                                                                                                                                                  ownership, and business operations between the companies that their
                                                                                                                                                           2                      separate personalities do not in reality exist, and (ii) there would be an
                                                                                                                                                                                  inequitable result if the torts in question were treated as those of one
                                                                                                                                                           3                      company alone.

                                                                                                                                                           4               The identities of the Defendants and their alternate entities are as follows:

                                                                                                                                                           5               Defendant                                              Alternate Entity
                                                                                                                                                                JOHNSON & JOHNSON CONSUMER,                           JOHNSON & JOHNSON CONSUMER
                                                                                                                                                           6    INC.                                                  COMPANIES, INC.
                                                                                                                                                           7    IMERYS TALC AMERICA, INC.                             LUZENAC AMERICA, INC.
                                                                                                                                                           8                                                          CYPRUS TALC CORPORATION
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                                                                                                                                                           9                                                          CYPRUS MINES CORPORATION
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                                                                                                                                                          10                                                          CYPRUS INDUSTRIAL MINERALS
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                                                                                                                                                                                                                      CORPORATION
                                                                                                                                                          11
                                                                                                                                                                                                                      CYPRUS WINDSOR MINERALS
                                                                                                                                                          12                                                          CORPORATION
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                                                                                                                                                          13

                                                                                                                                                          14                                                         IV.
                                                                                                                                                          15               The Products: The Defendants and/or their predecessors have for many years,
                                                                                                                                                          16 manufactured, sold, distributed, designed, formulated, developed standards for, prepared,

                                                                                                                                                          17 processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled,

                                                                                                                                                          18 and/or otherwise placed into the stream of commerce talc products that contain asbestos,
                                                                                                                                                          19 asbestisform fibers, and asbestiform talc.

                                                                                                                                                          20                                                         V.
                                                                                                                                                          21               The Exposures: At all times since his birth on November 29, 1970, Mr. Doyle was
                                                                                                                                                          22 exposed to asbestos, asbestiform fibers, and asbestiform talc through his and his family members’

                                                                                                                                                          23 personal, daily use of Johnson & Johnson’s talc powder products. Mr. Doyle used Johnson &

                                                                                                                                                          24 Johnson talc power products in California, Florida, Ohio, Pennsylvania, and other states.

                                                                                                                                                          25 Mr. Doyle was exposed to Defendants’ asbestos, asbestiform fibers, and asbestiform talc in

                                                                                                                                                          26 California because Defendants (i) marketed and sold their talc products in California, and (ii)

                                                                                                                                                          27 engaged in asbestos-related conduct that occurred in California. Mr. Doyle also was exposed to

                                                                                                                                                          28 Defendants’ asbestos, asbestiform fibers, and asbestiform talc in other states because Defendants

                                                                                                                                                               1705754.1                                                  3
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                                                                                                                                                           1 (i) marketed and sold their talc products in those states, and (ii) engaged in asbestos-related

                                                                                                                                                           2 conduct in those states.

                                                                                                                                                           3                                                         VI.
                                                                                                                                                           4               Venue: Venue is proper in Santa Clara County because some of the Defendants reside in
                                                                                                                                                           5 Santa Clara County. Specifically, the principal place of business of Defendant IMERYS TALC

                                                                                                                                                           6 AMERICA, INC. is in Santa Clara County.

                                                                                                                                                           7                                                         VII.
                                                                                                                                                           8               The Harm: In June 2018, Mr. Doyle was diagnosed with epithelial/sarcomatoid
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                                                                                                                                                           9 mesothelioma, an incurable and inevitably fatal cancer that stems from his exposures to asbestos,
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                                                                                                                                                          10 asbestiform fibers, and asbestiform talc. The mesothelioma caused Mr. Doyle to experience
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                                                                                                                                                          11 financial harm as well as physical pain, mental suffering, loss of enjoyment of life, disfigurement,

                                                                                                                                                          12 physical impairment, inconvenience, grief, anxiety, humiliation, emotional distress, and other
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                                                                                                                                                          13 similar harm that occurred during the period from Mr. Doyle’s mesothelioma diagnosis until his

                                                                                                                                                          14 untimely death. Plaintiffs are not claiming any damages barred by Code of Civil Procedure section

                                                                                                                                                          15 377.34.

                                                                                                                                                          16               Mr. Doyle’s injuries have caused Mrs. Doyle to experience loss of consortium. Her harm

                                                                                                                                                          17 includes the loss of love, companionship, comfort, care, assistance, protection, affection, society,

                                                                                                                                                          18 moral support, sexual relations, and other similar harm. Mrs. Doyle seeks compensation only for
                                                                                                                                                          19 such harm that has occurred during the period from Mr. Doyle’s mesothelioma diagnosis until his

                                                                                                                                                          20 untimely death.

                                                                                                                                                          21               Mr. Doyle’s injuries have caused Plaintiffs to suffer the loss of: (i) Mr. Doyle’s love,

                                                                                                                                                          22 companionship, comfort, care, assistance, protection, affection, society, moral support, training,

                                                                                                                                                          23 and guidance; (ii) financial support that Mr. Doyle would have contributed to Plaintiffs during his

                                                                                                                                                          24 life expectancy; (iii) gifts and benefits Plaintiffs would have expected to receive from Mr. Doyle;

                                                                                                                                                          25 and (iv) the loss of household services that Mr. Doyle would have provided. Mr. Doyle’s injuries

                                                                                                                                                          26 have also caused Mrs. Doyle to suffer the loss of Mr. Doyle’s sexual relationships. Plaintiffs also

                                                                                                                                                          27 had to incur expenses for funeral and cremation.

                                                                                                                                                          28               Plaintiffs assert the liability theories described below and reserve the right to conform this

                                                                                                                                                               1705754.1                                                4
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                                                                                                                                                           1 Complaint to proof later ascertained.

                                                                                                                                                           2                   FIRST CAUSE OF ACTION FOR STRICT PRODUCTS LIABILITY
                                                                                                                                                           3                                                        I.
                                                                                                                                                           4               Design Defect: Defendants, and DOE Defendants 1-50, have for many years,
                                                                                                                                                           5 manufactured, sold, distributed, designed, formulated, developed standards for, prepared,

                                                                                                                                                           6 processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled,

                                                                                                                                                           7 and/or otherwise placed into the stream of commerce, talc powder products containing asbestos,

                                                                                                                                                           8 asbestiform fibers, and asbestiform talc. First, these Defendants’ products were defective and
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                                                                                                                                                           9 unsafe for their intended purpose and foreseeable use in that when used, handled, mixed, or
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                                                                                                                                                          10 otherwise disturbed, said products would result in the release, and therefore inhalation, of
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                                                                                                                                                          11 hazardous and dangerous asbestos fibers, asbestiform fibers, and asbestiform talc by exposed

                                                                                                                                                          12 persons, including Mr. Doyle. Second, each product did not perform as safely as an ordinary
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                                                                                                                                                          13 consumer would have expected it to perform when used or misused in an intended or reasonably

                                                                                                                                                          14 foreseeable way, because each product caused hazardous asbestos, asbestiform fibers, and

                                                                                                                                                          15 asbestiform talc to become airborne. Third, Mr. Doyle developed mesothelioma. Fourth, each

                                                                                                                                                          16 product’s failure to perform safely was a substantial factor in causing Mr. Doyle’s mesothelioma

                                                                                                                                                          17 and wrongful death.

                                                                                                                                                          18                                                        II.
                                                                                                                                                          19               Failure-to-Warn Defect: The Defendants, and DOE Defendants 1-50, are strictly liable
                                                                                                                                                          20 for their products’ failure-to-warn defects. First, these Defendants and/or their predecessors have

                                                                                                                                                          21 for many years, manufactured, sold, distributed, designed, formulated, developed standards for,

                                                                                                                                                          22 prepared, processed, assembled, tested, listed, certified, marketed, advertised, packaged and/or

                                                                                                                                                          23 labeled, and/or otherwise placed into the stream of commerce, talc powder products containing

                                                                                                                                                          24 asbestos, asbestiform fibers, and asbestiform talc. Second, each product had potential risks that

                                                                                                                                                          25 were known or knowable in light of the scientific and medical knowledge that was generally

                                                                                                                                                          26 accepted in the scientific community at the time of design, manufacture, label, distribution, and

                                                                                                                                                          27 sale. Third, the potential risks presented a substantial danger when each product was used or

                                                                                                                                                          28 misused in an intended or reasonably foreseeable way, because each product caused hazardous

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                                                                                                                                                           1 asbestos, asbestiform fibers, and asbestiform talc to become airborne. Fourth, ordinary consumers

                                                                                                                                                           2 would not have recognized the potential risks. Fifth, these Defendants failed to adequately warn or

                                                                                                                                                           3 instruct of the potential risks. Sixth, Mr. Doyle developed mesothelioma. Seventh, the lack of

                                                                                                                                                           4 sufficient warnings or instructions was a substantial factor in causing Mr. Doyle’s mesothelioma

                                                                                                                                                           5 and wrongful death.

                                                                                                                                                           6                                                         III.
                                                                                                                                                           7               Knowledge of Asbestos Hazards: The following facts are illustrative, but not exhaustive,
                                                                                                                                                           8 of the evolution of the knowledge of the health hazards of asbestos and what was known and
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                                                                                                                                                           9 knowable to Defendants. Health hazards from asbestos exposure were identified in the 1890s.
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                                                                                                                                                          10 During this time, the Lady Inspector of Factories in Great Britain noted that individuals working
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                                                                                                                                                          11 with asbestos were suffering various lung injuries.

                                                                                                                                                          12               Defendants since the early 1900s possessed medical and scientific data that raised concerns
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                                                                                                                                                          13 regarding the presence of asbestos in talcum powder and that demonstrated the existence of health

                                                                                                                                                          14 hazards to those exposed to asbestos-containing talcum powder products. Talc is a hydrous

                                                                                                                                                          15 magnesium silicate, an inorganic material that is mined from the earth. Talc is used in the

                                                                                                                                                          16 manufacture of goods such as paper, plastic, paint and coatings, rubber, food, electric cable,

                                                                                                                                                          17 ceramics, and cosmetics. In its loose form and as used in consumer powder products, talc is known

                                                                                                                                                          18 as “talcum powder.”
                                                                                                                                                          19               Geologists and mining companies, including Defendants, have long known that the

                                                                                                                                                          20 deposits in the earth that are associated with talc are also associated with the formation of

                                                                                                                                                          21 asbestos. Asbestos is a commercial and legal term, rather than a geological or scientific term,

                                                                                                                                                          22 referring to six now-regulated magnesium silicate minerals that occur in fibrous form, including

                                                                                                                                                          23 the serpentine mineral chrysotile, and the amphibole minerals actinolite, anthophyllite, tremolite,

                                                                                                                                                          24 amosite, and crocidolite. The United States Geological Survey on Commercial Talc production in

                                                                                                                                                          25 1965, as well as those dating back to the 1800s in the United States, note the presence of tremolite,

                                                                                                                                                          26 anthophyllite, and chrysotile commonly among those minerals found within talc deposits.

                                                                                                                                                          27               As early as the 1920s, the term “asbestosis” was used to describe pulmonary fibrosis

                                                                                                                                                          28 caused by asbestos exposure. Case reports in Great Britain and the United States detailed

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                                                                                                                                                           1 asbestosis in various workers. By 1929, lawsuits for disability related to exposure to asbestos were

                                                                                                                                                           2 filed against Johns Manville.

                                                                                                                                                           3               In the late 1930s, case reports were published addressing the relationship between asbestos

                                                                                                                                                           4 and cancer. In 1931, the United Kingdom allowed workers to receive compensation for asbestosis.

                                                                                                                                                           5 In 1936, California’s Division of Industrial Safety issued Safety Orders establishing the standard

                                                                                                                                                           6 of care for work with asbestos. The same year, the State of Illinois enacted legislation recognizing

                                                                                                                                                           7 asbestosis as a compensable occupational disease under its Occupational Disease Act.

                                                                                                                                                           8               In March of 1933, Waldemar C. Dreesen of the United States Public Health Service
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                                                                                                                                                           9 reported to the National Safety Council the results of a study conducted among tremolite, talc, and
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                                                                                                                                                          10 slate workers. The study indicated that the talc was a hydrous calcium magnesium silicate, being
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                                                                                                                                                          11 45 percent talc and 45 percent tremolite, and the National Safety Council stated, “[t]he results of

                                                                                                                                                          12 the study seemed to indicate a relationship between the amount of dust inhaled and the effect of
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                                                                                                                                                          13 this dust on the lungs of the workers.” As early as 1934, the National Safety Council was

                                                                                                                                                          14 publishing information stating that “a cause of severe pulmonary injury is asbestos, a silicate of

                                                                                                                                                          15 magnesium.” In the September 1935 issue of National Safety News, an article entitled No Halfway

                                                                                                                                                          16 Measures in Dust Control by Arthur S. Johnson reported lowered lung capacity resulting from

                                                                                                                                                          17 “asbestosis” and “similar conditions” that developed “from exposure to excess of many mineral

                                                                                                                                                          18 dusts relatively low in free silica content.” The article further noted that claims for disabilities
                                                                                                                                                          19 from workers who alleged exposure to “clay, talc, emery, and carborundum dusts” had “claims

                                                                                                                                                          20 prosecuted successfully.” The article concluded that “[i]n the absence of adequate diagnoses,

                                                                                                                                                          21 occupational histories and a more satisfactory method of adjudicating claims than prosecution at

                                                                                                                                                          22 common law, we must conclude that it is necessary to find a practical method for controlling all

                                                                                                                                                          23 mineral dusts.”

                                                                                                                                                          24               By the 1940s, asbestos carcinogenicity was noted in reviews in fields of industrial

                                                                                                                                                          25 medicine, cancer research, and pneumoconiosis. In 1946, the American Conference of

                                                                                                                                                          26 Governmental Industrial Hygienists established a maximum allowable concentration for

                                                                                                                                                          27 occupational exposure.

                                                                                                                                                          28               During the 1940s and 1950s, asbestos hazards were discussed in popular magazines,

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                                                                                                                                                           1 including Scientific American (January 1949) and Newsweek (May 15, 1950), as well as the

                                                                                                                                                           2 Encyclopedia Britannica (1952). On April 7, 1959, the Los Angeles Times and Wall Street Journal

                                                                                                                                                           3 reported that California health officials did additional research linking asbestos with cancer.

                                                                                                                                                           4 Following a number of subsequent reports in the New York Times, Paul Brodeur published a

                                                                                                                                                           5 series of articles in the New Yorker.

                                                                                                                                                           6               In addition, beginning in the 1940s and 1950s, it was recognized that individuals who

                                                                                                                                                           7 worked with asbestos materials, as well as those who did not work directly with asbestos products

                                                                                                                                                           8 but only had relatively brief or intermittent exposures to asbestos products, could develop fatal
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                                                                                                                                                           9 asbestos diseases.
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                                                                                                                                                          10               In 1955, Richard Doll published a study linking asbestos to lung cancer.
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                                                                                                                                                          11               In 1960, Chris Wagner published a study linking asbestos to mesothelioma.

                                                                                                                                                          12               In the early 1960s, Dr. Irving Selikoff engaged in studies of groups of asbestos workers.
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                                                                                                                                                          13 By 1965, he had conducted various studies, published several articles, conducted special scientific

                                                                                                                                                          14 symposia, been interviewed by the New York Times, and organized the international conference

                                                                                                                                                          15 on the “Biological Effects of Asbestos” under the auspices of the renowned New York Academy

                                                                                                                                                          16 of Sciences. The results of these presentations were published in Volume 132 of the Annals of the

                                                                                                                                                          17 New York Academy of Sciences published in 1965.

                                                                                                                                                          18               In 1968, a study presented at the American Industrial Hygiene Conference and published

                                                                                                                                                          19 in the American Industrial Hygiene Association Journal concluded that “[a]ll of the 22 talcum

                                                                                                                                                          20 products analyzed have a...fiber content...averaging 19%. The fibrous material was predominantly

                                                                                                                                                          21 talc but contained minor amounts of tremolite, anthophyllite, and chrysotile as these are often

                                                                                                                                                          22 present in fibrous talc mineral deposits...Unknown significant amounts of such materials in

                                                                                                                                                          23 products that may be used without precautions may create an unsuspected problem.” [Cralley, L.J.,

                                                                                                                                                          24 et al., Fibrous and Mineral Content of Cosmetic Talcum Products, 29 Am. Ind. Hyg. Assoc. J. 350

                                                                                                                                                          25 (1968).]

                                                                                                                                                          26               In 1969, product-liability lawsuits were brought against asbestos manufacturers. Under the

                                                                                                                                                          27 Walsh Healy Act, federal contractors with contracts of more than $10,000 were required to adhere

                                                                                                                                                          28 a workplace standard of no more than 12 fibers per cubic centimeter of air. In 1970, OSHA

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                                                                                                                                                           1 established the first Federal guidelines for workplace asbestos exposure, which took effect in

                                                                                                                                                           2 1971. In 1972, the American Conference of Governmental Industrial Hygienists listed asbestos as

                                                                                                                                                           3 a carcinogen.

                                                                                                                                                           4               A 1976 follow-up study conducted by researchers at Mount Sinai Hospital in New York

                                                                                                                                                           5 concluded that “[t]he presence in these products of asbestiform anthophyllite and tremolite,

                                                                                                                                                           6 chrysotile, and quartz indicates the need for a regulatory standard for cosmetic talc...We also

                                                                                                                                                           7 recommend that evaluation be made to determine the possible health hazards associated with the

                                                                                                                                                           8 use of these products.” [Rohl, A.N., et al., Consumer Talcums and Powders: Mineral and
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                                                                                                                                                           9 Chemical Characterization, 2 J. Toxicol. Environ. Health 255 (1976).] The results of the Mount
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                                                                                                                                                          10 Sinai study were soon picked up and reported by both the New York Times and the Washington
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                                                                                                                                                          11 Post that same year. The study and subsequent newspaper articles listed explicitly popular

                                                                                                                                                          12 consumer cosmetic talcum powders as containing high percentages of asbestos.
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                                                                                                                                                          13               In the early 1970s, the U.S. Food and Drug Administration began an inquiry into whether

                                                                                                                                                          14 to regulate and require warnings on consumer talcum powder products. Defendants, who were part

                                                                                                                                                          15 of an exclusive lobbying and advocacy group representing companies engaged in the cosmetic

                                                                                                                                                          16 products industry, repeatedly conspired and worked in concert to block efforts to label and warn

                                                                                                                                                          17 consumers regarding the dangers associated with cosmetic talcum powder products.

                                                                                                                                                          18               Several reports, studies, and guidelines published as early as the 1930s, including

                                                                                                                                                          19 California’s Dust, Fumes, Vapors, and Gases Safety Orders, all recognized that asbestos is a dust

                                                                                                                                                          20 which creates health hazards, and that certain precautions are required to mitigate human exposure

                                                                                                                                                          21 to dust. Such measures include, but are not limited to, using water to suppress the dust at its

                                                                                                                                                          22 source, as well as providing those who might be exposed to dust with adequate ventilation,

                                                                                                                                                          23 showers, and changing facilities. These same measures that were recommended to protect workers

                                                                                                                                                          24 from asbestosis in the 1930s would also have substantially reduced the risk that bystanders,

                                                                                                                                                          25 household members, and other persons would contract mesothelioma from inhaling asbestos-

                                                                                                                                                          26 containing dust that those who worked with and around asbestos and asbestos-containing products

                                                                                                                                                          27 carried into their households on their person and personal effects. Defendants, and each of them,

                                                                                                                                                          28 knew or should have known that anyone, including household members of those who used

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                                                                                                                                                           1 asbestos-containing products were at risk of developing an asbestos-related disease after inhaling

                                                                                                                                                           2 dust from such asbestos-containing products.

                                                                                                                                                           3               All Defendants failed to place any warning on their talc and talcum powder products or ever

                                                                                                                                                           4 disclose the fact that these products contained asbestos, asbestiform fibers, and asbestiform talc at any

                                                                                                                                                           5 point, up to and including present day, despite the clear hazard and direct information that their

                                                                                                                                                           6 products did contain asbestos, asbestiform fibers, and asbestiform talc.

                                                                                                                                                           7                            SECOND CAUSE OF ACTION FOR NEGLIGENCE
                                                                                                                                                           8                                                         I.
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                                                                                                                                                           9               General Negligence: All Defendants, and DOE Defendants 1-50, are liable for their
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                                                                                                                                                          10 general negligence. First, Defendants failed to use reasonable care to prevent harm to others,
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                                                                                                                                                          11 because they caused hazardous asbestos, asbestiform fibers, and asbestiform talc to become

                                                                                                                                                          12 airborne. Second, Defendants unreasonably acted and failed to act. They acted in ways that a
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                                                                                                                                                          13 reasonably careful person would not do in the same situation, and failed to act in ways that a

                                                                                                                                                          14 reasonably careful person would do in the same situation. Third, Mr. Doyle developed

                                                                                                                                                          15 mesothelioma. Fourth, each Defendant’s general negligence was a substantial factor in causing

                                                                                                                                                          16 Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                          17                                                         II.
                                                                                                                                                          18               Negligent Design, Manufacture, Supply, Testing, Packaging, and Labeling of
                                                                                                                                                          19 Products: The Defendants, and DOE Defendants 1-50, are liable for their negligent design,

                                                                                                                                                          20 manufacture, marketing, supply, testing, packaging, and labeling of talc powder products

                                                                                                                                                          21 containing asbestos, asbestiform fibers, and asbestiform talc. First, these Defendants designed,

                                                                                                                                                          22 manufactured, sold, distributed, formulated, developed standards for, prepared, processed,

                                                                                                                                                          23 assembled, tested, listed, certified, marketed, advertised, packaged and/or labeled, and/or

                                                                                                                                                          24 otherwise placed into the stream of commerce, talc powder products containing asbestos,

                                                                                                                                                          25 asbestiform fibers, and asbestiform talc. Second, these Defendants were negligent in

                                                                                                                                                          26 manufacturing, selling, distributing, developing standards for, processing, assembling, testing,

                                                                                                                                                          27 certifying, marketing, advertising, packaging and/or labeling, and/or otherwise placing into the

                                                                                                                                                          28 stream of commerce, talc powder products containing asbestos, asbestiform fibers, and

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                                                                                                                                                           1 asbestiform talc because they caused hazardous asbestos, asbestiform fibers, and asbestiform talc

                                                                                                                                                           2 to become airborne. They failed to use the amount of care that a reasonably careful person would

                                                                                                                                                           3 use in similar circumstances to avoid exposing others to a foreseeable risk of harm. Third,

                                                                                                                                                           4 Mr. Doyle developed mesothelioma. Fourth, each Defendant’s negligence was a substantial factor

                                                                                                                                                           5 in causing Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                           6                                                        III.
                                                                                                                                                           7               Negligent Failure to Warn about Products: The Defendants, and DOE Defendants 1-50,
                                                                                                                                                           8 are liable for their negligent failure to warn about their products. First, these Defendants designed,
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                                                                                                                                                           9 manufactured, marketed, distributed, packaged, labeled, and sold talc powder products containing
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                                                                                                                                                          10 asbestos, asbestiform fibers, and asbestiform talc. Second, these Defendants knew or reasonably
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                                                                                                                                                          11 should have known that each product was dangerous or was likely to be dangerous when used or

                                                                                                                                                          12 misused in a reasonably foreseeable manner, because each product caused hazardous asbestos,
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                                                                                                                                                          13 asbestiform fibers, and asbestiform talc to become airborne. Third, these Defendants knew or

                                                                                                                                                          14 reasonably should have known that users would not realize the danger. Fourth, these Defendants

                                                                                                                                                          15 failed to adequately warn of the danger or instruct on the safe use of each product. Fifth, a

                                                                                                                                                          16 reasonably careful person under the same or similar circumstances would have warned of the

                                                                                                                                                          17 danger or instructed on the safe use of each product. Sixth, Mr. Doyle developed mesothelioma.

                                                                                                                                                          18 Seventh, each Defendant’s negligent failure to warn or instruct was a substantial factor in causing
                                                                                                                                                          19 Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                          20                                                        IV.
                                                                                                                                                          21               Negligent Failure to Recall and Retrofit Products: The Defendants, and DOE
                                                                                                                                                          22 Defendants 1-50, are liable for their negligent failure to recall and retrofit their products. First,

                                                                                                                                                          23 these Defendants designed, manufactured, marketed, distributed, packaged, labeled, and sold talc

                                                                                                                                                          24 powder products containing asbestos, asbestiform fibers, and asbestiform talc. Second, these

                                                                                                                                                          25 Defendants knew or reasonably should have known that each product was dangerous or was likely

                                                                                                                                                          26 to be dangerous when used in a reasonably foreseeable manner, because each product caused

                                                                                                                                                          27 hazardous asbestos, asbestiform fibers, and asbestiform talc to become airborne. Third, these

                                                                                                                                                          28 Defendants became aware of this defect after each product was sold. Fourth, these Defendants

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                                                                                                                                                           1 failed to recall and retrofit each product. Fifth, a reasonably careful person under the same or

                                                                                                                                                           2 similar circumstances would have recalled and retrofitted each product. Sixth, Mr. Doyle

                                                                                                                                                           3 developed mesothelioma. Seventh, each Defendant’s negligent failure to recall and retrofit each

                                                                                                                                                           4 product was a substantial factor in causing Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                           5                                  THIRD CAUSE OF ACTION FOR FRAUD
                                                                                                                                                           6                                                         I.
                                                                                                                                                           7               Fraudulent Misrepresentation: All Defendants, and DOE Defendants 1-50, are liable for
                                                                                                                                                           8 their fraudulent misrepresentations.
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                                                                                                                                                           9               First, each of these Defendants, via its employees, agents, advertisements, or any other
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                                                                                                                                                          10 authorized person or document, represented that certain facts were true when they were not. The
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                                                                                                                                                          11 specific identities of these employees, agents, advertisements, or any other authorized person or

                                                                                                                                                          12 document are maintained in Defendants’ records. Such records remain in the exclusive control of
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                                                                                                                                                          13 Defendants pursuant to Defendants’ respective document-retention policies. While Plaintiffs do

                                                                                                                                                          14 not currently know the specific advertisements or names of the employees, agents, or any other

                                                                                                                                                          15 authorized person who made the representations, they will have access to this information once

                                                                                                                                                          16 discovery has commenced and will be able to specifically name the advertisement as well as the

                                                                                                                                                          17 employee, agent, or any other authorized person.

                                                                                                                                                          18               Second, Defendants represented that the products they manufactured, supplied, or specified

                                                                                                                                                          19 for use were not hazardous to humans. These representations were made before and during the

                                                                                                                                                          20 years that Mr. Doyle purchased and was exposed to asbestos, asbestiform fibers, and asbestiform

                                                                                                                                                          21 talc from Defendants’ talc powder products. Such representations were made either directly to

                                                                                                                                                          22 Mr. Doyle, or to a third party intending and reasonably expecting that the substances of these

                                                                                                                                                          23 misrepresentations would be repeated to Mr. Doyle.

                                                                                                                                                          24               Third, Defendants knew that the representations were false when they made them, or they

                                                                                                                                                          25 made the representations recklessly and without regard for their truth.

                                                                                                                                                          26               Fourth, Defendants intended that Mr. Doyle and/or the same class of persons as Mr. Doyle

                                                                                                                                                          27 rely on the representations or their substance.

                                                                                                                                                          28               Fifth, Mr. Doyle reasonably relied on Defendants’ representations or the substance of these

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                                                                                                                                                           1 representations.

                                                                                                                                                           2               Sixth, Mr. Doyle developed mesothelioma.

                                                                                                                                                           3               Seventh, Mr. Doyle’s reliance on these representations was a substantial factor in causing

                                                                                                                                                           4 Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                           5                                                         II.
                                                                                                                                                           6               Fraudulent Concealment (Nondisclosure): All Defendants, and DOE Defendants 1-50,
                                                                                                                                                           7 are liable for their fraudulent concealment (nondisclosure).

                                                                                                                                                           8               First, each of these Defendants made affirmative statements that were so misleading (e.g.
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                                                                                                                                                           9 misleading “half-truths”) that they gave rise to a fraud cause of action even in the absence of a
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                                                                                                                                                          10 specific relationship or transaction as between Defendants and Mr. Doyle. Specifically,
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                                                                                                                                                          11 Defendants stated that their products could be used safely while concealing they were in fact lethal

                                                                                                                                                          12 because they contain and release asbestos fibers, asbestiform fibers, and asbestiform talc.
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                                                                                                                                                          13               Second, Defendants (i) had exclusive knowledge of material facts not known to Mr. Doyle

                                                                                                                                                          14 (as set forth above), (ii) actively concealed these material facts from Mr. Doyle, (iii) made partial

                                                                                                                                                          15 representations but also suppressed material facts, as set forth above, and (iv) made factual

                                                                                                                                                          16 representations, but did not disclose facts which materially qualified those representations. Such

                                                                                                                                                          17 nondisclosures included Defendants representing their products as safe when used as intended and

                                                                                                                                                          18 as fit for the particular purpose for which they were marketed, while not disclosing the facts that
                                                                                                                                                          19 these products contained asbestos, asbestiform fibers, and asbestiform talc that would become

                                                                                                                                                          20 airborne during the intended and foreseeable use of the products, rendering them dangerous and

                                                                                                                                                          21 unfit for their intended purpose.

                                                                                                                                                          22               Third, each Defendant entered into a relationship and/or a transaction with Mr. Doyle

                                                                                                                                                          23 sufficient to give rise to a duty to disclose. For example, Mr. Doyle used or otherwise encountered

                                                                                                                                                          24 Defendants’ products that were purchased either directly from Defendants, Defendants’ authorized

                                                                                                                                                          25 dealer or supplier, or any other entity upon which Defendants derived a direct monetary benefit

                                                                                                                                                          26 directly from Mr. Doyle’s purchase and use of the products. As for another example, Defendants

                                                                                                                                                          27 directly advertised their products to those in California and elsewhere, as a symbol of freshness,

                                                                                                                                                          28 cleanliness, and purity. Defendants advertised and marketed this product as the beacon of

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                                                                                                                                                           1 “freshness” and “comfort”, eliminating friction on the skin, absorbing “excess wetness” helping

                                                                                                                                                           2 keep skin feeling dry and comfortable, and “clinically proven gentle and mild.” The Defendants

                                                                                                                                                           3 compelled men and women through advertisements to dust themselves with this product to mask

                                                                                                                                                           4 odors. Defendants derived direct monetary benefit from these individuals’ use of these products

                                                                                                                                                           5 because Mr. Doyle decided to use or purchase Defendants’ products.

                                                                                                                                                           6               Fourth, Mr. Doyle did not know of the concealed facts.

                                                                                                                                                           7               Fifth, Defendants intended to deceive Mr. Doyle by concealing the facts, and/or by making

                                                                                                                                                           8 certain representations without disclosing additional facts that would have materially qualified
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                                                                                                                                                           9 those representations.
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                                                                                                                                                          10               Sixth, had the omitted information been disclosed, Mr. Doyle reasonably would have
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                                                                                                                                                          11 behaved differently.

                                                                                                                                                          12               Seventh, Mr. Doyle developed mesothelioma.
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                                                                                                                                                          13               Eighth, each Defendant’s concealment was a substantial factor in causing Mr. Doyle’s

                                                                                                                                                          14 mesothelioma and wrongful death.

                                                                                                                                                          15                                                         III.
                                                                                                                                                          16               Conspiracy to Commit Fraudulent Misrepresentation: Plaintiffs hereby incorporate by
                                                                                                                                                          17 reference the allegations of Paragraph I of this Third Cause of Action as if fully stated herein.

                                                                                                                                                          18               All Defendants, and DOE Defendants 1-50, are liable for their conspiracy to commit

                                                                                                                                                          19 fraudulent misrepresentation. First, Defendants were aware that their conspirators, which included

                                                                                                                                                          20 all co-defendants and others, planned to commit fraudulent misrepresentation against Mr. Doyle.

                                                                                                                                                          21 Second, Defendants agreed with their conspirators and intended that the fraudulent

                                                                                                                                                          22 misrepresentation be committed. Third, Mr. Doyle developed mesothelioma. Fourth, each

                                                                                                                                                          23 Defendant’s participation in the conspiracy was a substantial factor in causing Mr. Doyle’s

                                                                                                                                                          24 mesothelioma and wrongful death.

                                                                                                                                                          25                                                         IV.
                                                                                                                                                          26               Conspiracy to Commit Fraudulent Concealment (Nondisclosure): Plaintiffs hereby
                                                                                                                                                          27 incorporate by reference the allegations of Paragraph II of this Third Cause of Action as if fully

                                                                                                                                                          28 stated herein.

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                                                                                                                                                           1               All Defendants, and DOE Defendants 1-50, are liable for their conspiracy to commit

                                                                                                                                                           2 fraudulent concealment. First, Defendants were aware that their conspirators, which included all

                                                                                                                                                           3 co-defendants and others, planned to commit fraudulent concealment against Mr. Doyle. Second,

                                                                                                                                                           4 Defendants agreed with their conspirators and intended that the fraudulent concealment be

                                                                                                                                                           5 committed. Third, Mr. Doyle developed mesothelioma. Fourth, each Defendant’s participation in

                                                                                                                                                           6 the conspiracy was a substantial factor in causing Mr. Doyle’s mesothelioma and wrongful death.

                                                                                                                                                           7                                                         V.
                                                                                                                                                           8               Knowledge of Hazards: At all times pertinent hereto, all Defendants, including DOE
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                                                                                                                                                           9 Defendants 1-50, owed Mr. Doyle a duty, as provided for in Civil Code sections 1708, 1709, and
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                                                                                                                                                          10 1710, to abstain from injuring his person, property, or rights. In violation of that duty, these
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                                                                                                                                                          11 Defendants, and each of them, did do the acts and omissions, when a duty to act was imposed, as

                                                                                                                                                          12 set forth herein, thereby proximately causing injury to Mr. Doyle. Such acts and omissions
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                                                                                                                                                          13 consisted of acts falling within Civil Code section 1710, and more specifically were (i)

                                                                                                                                                          14 suggestions of fact which were not true and which the Defendants did not believe to be true, (ii)

                                                                                                                                                          15 assertions of fact of that which was not true, which the Defendants had no reasonable ground for

                                                                                                                                                          16 believing it to be true, and (iii) the suppression of facts when a duty existed to disclose it, as more

                                                                                                                                                          17 fully set forth herein, and the violation of which as to any one such item gave rise to a cause of

                                                                                                                                                          18 action for violation of Mr. Doyle’s rights as provided for in the aforementioned code sections.
                                                                                                                                                          19               Since 1924, all of the Defendants have known and possessed of the true facts (consisting of

                                                                                                                                                          20 medical and scientific data, and other knowledge) which clearly indicated that the materials and

                                                                                                                                                          21 products referred to herein were and are hazardous to the health and safety of Mr. Doyle, and

                                                                                                                                                          22 others similarly situated. Defendants engaged in the following acts and omissions:

                                                                                                                                                          23               (a)    Did not label any of the aforementioned asbestos-containing materials and
                                                                                                                                                                                  products as to the hazards of such materials and products to the health and
                                                                                                                                                          24                      safety of Mr. Doyle, and others in their position using these products when
                                                                                                                                                                                  the knowledge of such hazards was existing and known to Defendants, and
                                                                                                                                                          25                      each of them, since 1924. By not labeling such materials as to their said
                                                                                                                                                                                  hazards, Defendants, and each of them, caused to be suggested as a fact to
                                                                                                                                                          26                      Mr. Doyle that it was safe for his to use such materials, when in fact these
                                                                                                                                                                                  things were not true and Defendants did not believe them to be true.
                                                                                                                                                          27

                                                                                                                                                          28 / / /

                                                                                                                                                               1705754.1                                                  15
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                                                                                                                                                           1               (b)   Suppressed information relating to the danger of using the aforementioned
                                                                                                                                                                                 materials by requesting the suppression of information to Mr. Doyle, and
                                                                                                                                                           2                     the general public concerning the dangerous nature of the aforementioned
                                                                                                                                                                                 materials to all persons, including users, bystanders and household
                                                                                                                                                           3                     members, by not allowing such information to be disseminated in a manner
                                                                                                                                                                                 which would give general notice to the public and knowledge of the
                                                                                                                                                           4                     hazardous nature thereof when Defendants were bound to disclose such
                                                                                                                                                                                 information.
                                                                                                                                                           5

                                                                                                                                                           6               (c)   Sold the aforementioned products and materials to the public, including
                                                                                                                                                                                 Mr. Doyle, and others in California and other states without advising them
                                                                                                                                                           7                     of the dangers of use of such materials and to those persons’ household
                                                                                                                                                                                 members, when Defendants knew of such dangers, as set forth herein and
                                                                                                                                                           8                     above, and had a duty to disclose such dangers. Thus, Defendants caused to
                                                                                                                                                                                 be positively asserted to Mr. Doyle, and the public that which was not true
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                                                                                                                                                           9                     and which Defendants had no reasonable ground for believing it to be true,
                                                                                                                                                                                 in a manner not warranted by the information possessed by said Defendants,
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                                                                                                                                                          10                     and each of them, of that which was and is not true, to wit, that it was safe
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                                                                                                                                                                                 for Mr. Doyle to use such materials and that it did not pose a risk of harm.
                                                                                                                                                          11

                                                                                                                                                          12               (d)   Suppressed and continue to suppress from everyone, including Mr. Doyle,
                                        A Professional Law Corporation




                                                                                                                                                                                 medical, scientific data, and knowledge of the accurate results of studies
                                                                                                                                                          13                     including, but not limited to, Waldemar C. Dreesen of the United States
                                                                                                                                                                                 Public Health Service’s 1933 report to the National Safety Council the
                                                                                                                                                          14                     results of a study conducted among tremolite, talc and slate workers. The
                                                                                                                                                                                 study indicated that the talc was a hydrous calcium magnesium silicate,
                                                                                                                                                          15                     being 45 percent talc and 45 percent tremolite, and the National Safety
                                                                                                                                                                                 Council stated “[t]he results of the study seemed to indicate a relationship
                                                                                                                                                          16                     between the amount of dust inhaled and the effect of this dust on the lungs
                                                                                                                                                                                 of the workers.” As early as 1934, the National Safety Council was
                                                                                                                                                          17                     publishing information stating that “a cause of severe pulmonary injury is
                                                                                                                                                                                 asbestos, a silicate of magnesium.” In the September 1935 issue of National
                                                                                                                                                          18                     Safety News, an article entitled No Halfway Measures in Dust Control by
                                                                                                                                                                                 Arthur S. Johnson reported lowered lung capacity resulting from
                                                                                                                                                          19                     “asbestosis” and “similar conditions” that developed “from exposure to
                                                                                                                                                                                 excess of many mineral dusts relatively low in free silica content.” The
                                                                                                                                                          20                     article further noted that claims for disabilities from workers who alleged
                                                                                                                                                                                 exposure to “clay, talc, emery, and carborundum dusts” had “claims
                                                                                                                                                          21                     prosecuted successfully.” The article concluded that “[i]n the absence of
                                                                                                                                                                                 adequate diagnoses, occupational histories and a more satisfactory method
                                                                                                                                                          22                     of adjudicating claims than prosecution at common law, we must conclude
                                                                                                                                                                                 that it is necessary to find a practical method for controlling all mineral
                                                                                                                                                          23                     dusts.”

                                                                                                                                                          24               (e)   Belonged to, participated in, and financially supported the Industrial
                                                                                                                                                                                 Hygiene Foundation, Asbestos Information Association, the Asbestos
                                                                                                                                                          25                     Textile Institute (ATI), and other industry organizations, including the
                                                                                                                                                                                 Cosmetic, Toiletry, and Fragrance Association (now known as the Personal
                                                                                                                                                          26                     Care Products Council), which actively promoted the suppression of
                                                                                                                                                                                 information of danger to users of the aforementioned products and materials
                                                                                                                                                          27                     for and on behalf of Defendants, and each of them, thereby misleading
                                                                                                                                                                                 Mr. Doyle to their prejudice through the suggestions and deceptions set
                                                                                                                                                          28                     forth above in this cause of action. ATI’s Dust Control Committee, which

                                                                                                                                                               1705754.1                                               16
                                                                                                                                                                                 First Amended Complaint for Personal Injuries (Survivorship) and Wrongful Death
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                                                                                                                                                           1                     changed its name to the Air Hygiene Committee of ATI, was specifically
                                                                                                                                                                                 enjoined to study the subject of dust control; discussions in such committee
                                                                                                                                                           2                     were held many times of (i) the dangers inherent in asbestos and the dangers
                                                                                                                                                                                 which arise from the lack of control of dust and (ii) the suppression of such
                                                                                                                                                           3                     information from 1946 to a date unknown to Plaintiffs at this time.

                                                                                                                                                           4               (f)   Knew and possessed medical and scientific information of the connection
                                                                                                                                                                                 between inhalation of asbestos fibers and asbestosis in 1930 with the study
                                                                                                                                                           5                     of mine and mill workers at the Thetford asbestos mines in Quebec,
                                                                                                                                                                                 Canada, and the study of workers at Raybestos-Manhattan plants in
                                                                                                                                                           6                     Manheim and Charleston, South Carolina. This information was
                                                                                                                                                                                 disseminated through the ATI and other industry organizations to all other
                                                                                                                                                           7                     Defendants, and each of them, herein. Between 1942 and 1950, Defendants,
                                                                                                                                                                                 and each of them, knew and possessed medical and scientific information of
                                                                                                                                                           8                     the connection between inhalation of asbestos fibers and cancer, which
                                                                                                                                                                                 information was disseminated through the ATI and other industry
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                                                                                                                                                           9                     organizations to all other Defendants herein. Thereby, Defendants
                                                                                                                                                                                 suggested as fact that which is not true and disseminated other facts likely
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                                                                                                                                                          10                     to and did mislead Mr. Doyle for want of communication of true facts,
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                                                                                                                                                                                 which consisted of the previously described medical and scientific data and
                                                                                                                                                          11                     other knowledge by not giving Mr. Doyle the true facts concerning such
                                                                                                                                                                                 knowledge of danger, when Defendants were bound to disclose it.
                                                                                                                                                          12
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                                                                                                                                                          13               (g)   Failed to warn Mr. Doyle and others similarly situated regarding the nature
                                                                                                                                                                                 of Defendants’ talcum products. In 1968, a study presented at the American
                                                                                                                                                          14                     Industrial Hygiene Conference and published in the American Industrial
                                                                                                                                                                                 Hygiene Association Journal concluded that “[a]ll of the 22 talcum products
                                                                                                                                                          15                     analyzed have a…fiber content…averaging 19%. The fibrous material was
                                                                                                                                                                                 predominantly talc but contained minor amounts of tremolite, anthophyllite,
                                                                                                                                                          16                     and chrysotile as these are often present in fibrous talc mineral
                                                                                                                                                                                 deposits…Unknown significant amounts of such materials in products that
                                                                                                                                                          17                     may be used without precautions may create an unsuspected problem.”
                                                                                                                                                                                 [Cralley, L.J., et al., Fibrous and Mineral Content of Cosmetic Talcum
                                                                                                                                                          18                     Products, 29 Am. Ind. Hyg. Assoc. J. 350 (1968).] Defendants failed to
                                                                                                                                                                                 warn Mr. Doyle and others similarly situated that their talcum products are,
                                                                                                                                                          19                     among other things, dangerous when breathed and causes pathological
                                                                                                                                                                                 effects without noticeable trauma, although Defendants possessed
                                                                                                                                                          20                     knowledge that such material was dangerous and a threat to the health of
                                                                                                                                                                                 persons coming into contact therewith and under a duty to disclose it.
                                                                                                                                                          21

                                                                                                                                                          22               (h)   Concealed from Mr. Doyle, and others similarly situated the true nature of
                                                                                                                                                                                 their exposure, the fact that Defendants knew that exposure to respirable
                                                                                                                                                          23                     asbestos meant that Mr. Doyle would inhale this asbestos, significantly
                                                                                                                                                                                 increasing his risk of developing asbestosis, lung cancer, and mesothelioma;
                                                                                                                                                          24                     that Mr. Doyle that had in fact been exposed to respirable asbestos; that the
                                                                                                                                                                                 materials to which Mr. Doyle was exposed would cause pathological effects
                                                                                                                                                          25                     in the human body without noticeable or perceptible trauma to warn him of
                                                                                                                                                                                 injury; and Defendants engaged in these acts and omissions while under a
                                                                                                                                                          26                     duty to and bound to disclose this information.

                                                                                                                                                          27               (i)   Failed to provide information to the public at large and buyers, users and
                                                                                                                                                                                 physicians of Mr. Doyle for the purpose of conducting physical
                                                                                                                                                          28                     examinations of anyone whom came in contact with asbestos as to the true

                                                                                                                                                               1705754.1                                               17
                                                                                                                                                                                 First Amended Complaint for Personal Injuries (Survivorship) and Wrongful Death
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                                                                                                                                                           1                      nature of the hazards of asbestos, in order for such physicians to diagnose,
                                                                                                                                                                                  and treat individuals coming into contact with asbestos, in that the materials
                                                                                                                                                           2                      to which Mr. Doyle had been exposed would cause pathological effects
                                                                                                                                                                                  without noticeable trauma, even though Defendants were under a duty to
                                                                                                                                                           3                      supply such information and such failure was and is likely to mislead
                                                                                                                                                                                  persons including Mr. Doyle as to the dangers and risk of harm to which
                                                                                                                                                           4                      they were exposed.

                                                                                                                                                           5               (j)    Affirmatively misrepresented that asbestos-containing products were safe to
                                                                                                                                                                                  use and handle, when Defendants knew such statements were false when
                                                                                                                                                           6                      made, or made said false statements recklessly and without regard for
                                                                                                                                                                                  whether the statements were true.
                                                                                                                                                           7

                                                                                                                                                           8               Each of the foregoing acts, suggestions, assertions, and forbearances to act when a duty
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                                                                                                                                                           9 existed to act, the said Defendants, and each of them, having such knowledge, knowing Mr. Doyle
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                                                                                                                                                          10 did not have such knowledge and would breathe such material innocently, was done falsely and
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                                                                                                                                                          11 fraudulently and with full intent to induce Mr. Doyle to work in a dangerous environment and to

                                                                                                                                                          12 cause them to remain unaware of the true facts, all in violation of Civil Code section 1710.
                                        A Professional Law Corporation




                                                                                                                                                          13                                       BASIS FOR PUNITIVE DAMAGES
                                                                                                                                                          14                                                         I.
                                                                                                                                                          15               Malice, Oppression, and Fraud: Plaintiffs hereby incorporate by reference the allegations
                                                                                                                                                          16 of all causes of action as if fully stated herein. All Defendants, and DOE Defendants 1-50, are

                                                                                                                                                          17 liable for punitive damages because they engaged in the conduct that caused Mr. Doyle’s harm

                                                                                                                                                          18 with malice, oppression, or fraud.
                                                                                                                                                          19               First, these Defendants committed malice in that they acted with intent to harm when they

                                                                                                                                                          20 caused Mr. Doyle’s exposures to asbestos, asbestiform fibers, and asbestiform talc, and because

                                                                                                                                                          21 their conduct was despicable and was done with a willful and knowing disregard of the rights and

                                                                                                                                                          22 safety of others.

                                                                                                                                                          23               Second, these Defendants committed oppression in that their conduct was despicable and

                                                                                                                                                          24 subjected Mr. Doyle to cruel and unjust hardship in knowing disregard of his rights.

                                                                                                                                                          25               Third, the Defendants committed fraud in that they intentionally and fraudulently

                                                                                                                                                          26 concealed and misrepresented material facts and did so intending to harm Mr. Doyle and with

                                                                                                                                                          27 reckless disregard for whether their fraud would harm Mr. Doyle.

                                                                                                                                                          28               These Defendants’ conduct constituting malice, oppression, and fraud was committed by,

                                                                                                                                                               1705754.1                                                  18
                                                                                                                                                                                  First Amended Complaint for Personal Injuries (Survivorship) and Wrongful Death
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                       Exhibit A
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    Denyse F. Clancy (C.S.B. #255276)
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  4 Jack London Market
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  5 Oakland, California 94607
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  6 Facsimile: (510) 835-4913

  7 Attorneys for Plaintiffs

  8                                     SUPERIOR COURT OF CALIFORNIA

  9                                         COUNTY OF SANTA CLARA

 10   DANIEL CHRISTOPHER DOYLE and                             Case No. 18CV333609
      KRISTIE LYNN DOYLE,
                                                                         Assigned for All Purpose to
                         Plaintiffs,                                Judge Thomas E. Kuhnle Depaliment 5

                  v.                                           DECLARATION OF SUCCESSOR IN
                                                               INTEREST
      IMERYS TALC AMERICA, INC., et al.,
                                                                  Action Filed:     August 27.2018

                         Defendants.



                  I, Kristie Lynn Doyle, declare:

                  1.     I make this declaration pursuant to Code of Civil Procedure section 377.32 to

 19 commence any and all actions related to Daniel Christopher Doyle's exposure to asbestos which

 20   survive his death.

 21               2.     Daniel Christopher Doyle died in Grove City, Ohio on December 20,2018.

 22               3.     No proceeding is now pending in California or Ohio for the administration of

 23   Daniel Christopher Doyle's estate.

 24               4.     I am Daniel Christopher Doyle's successor in interest, as defined in Code of Civil

 25   Procedure section 3 77.11, and succeed to his interest in the action or proceeding.

 26               5.     No other person has a superior right to commence and/or continue the action or

 27 proceeding, or to be substituted for Daniel Christopher Doyle in the pending action or proceeding.

 28               6.     Attached hereto is a true and correct certified copy of Daniel Christopher Doyle's

      1703764.1                                               1
                                             Declaration of Successor in Interest
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                                 1 death certificate.
                                 2               I declare under penalty of perjury under the laws of the State of California that the

                                 3 foregoing is true and correct, and that I signed this declaration at Grove City, Ohio on January
                                   11
                                 4 _,2019.
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                                                                            Declaration of Successor in Interest
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                                                             45 of 58 filed
                                                           by Superior Court of CA,
                                                           County of Santa Clara,
                                                           on 3/11/2019 9:15 AM
                                                           Reviewed By:R. Walker
                                                           Case #18CV333609
                                                           Env #2608647
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                       Exhibit C
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 1                SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2                          COUNTY OF SANTA CLARA
 3                       HON. ROBERTA HAYASHI, JUDGE
 4
 5   KRISTIE LYNN DOYLE, et al.,
 6                 Plaintiffs,
 7          vs.                                             Case No. 18CV333609
 8   IMERYS TALC AMERICA, et al.,
 9                 Defendants.
     ____________________________/
10
11
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14
15            Reporter's Transcript of Remote Proceedings
16                         Thursday, July 14, 2022
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23                Reported By:     Sheila Pham, CSR No. 13293
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                                                                         EXHIBIT C
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                                                                               1
 1                          APPEARANCES OF COUNSEL
 2
 3   For Plaintiffs:
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 8   For Defendants Johnson & Johnson and Johnson & Johnson
     Consumer, Inc.:
 9
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12               amalik@orrick.com
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                                                                                2
 1                          Thursday, July 14, 2022
 2                          10:34 a.m. - 10:45 a.m.
 3
 4               THE COURT:      Let's go to Line 15, please, Doyle
 5   versus Imerys Talc America, Inc.
 6               MS. MALIK:      Good morning, Your Honor.             This is
 7   Anne Malik --
 8               (Simultaneous speaking.)
 9               MS. MALIK:      -- on behalf of Johnson & Johnson
10   and Johnson & Johnson Consumer, Inc.
11               THE COURT:      I'm sorry, hold on just a moment.
12   I had a couple of people speaking at the same time.                      My
13   apologies.      This is a case in which there's a lot of
14   attorneys.      So hold on one moment.                Let me get the list
15   of who's appearing today.
16               Okay.    This is Line 15 on the calendar.               It
17   originally had some different number, but it's Case
18   Number 18CV333609.
19               Let me ask first who is appearing for
20   plaintiffs, please.
21               MR. RIVAMONTE:         Good morning, Your Honor.
22   Ian Rivamonte for the plaintiffs, Kristie Doyle and
23   Ethan Doyle.
24               THE COURT:      Okay.       Are there other appearances
25   for the plaintiffs?



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                                                                               3
 1               MR. RIVAMONTE:         No, Your Honor.
 2               THE COURT:      Okay.       Thank you.
 3               Are there any appearances for any of the
 4   defendants?
 5               MS. MALIK:      Yes, Your Honor.          This is
 6   Anne Malik on behalf of Johnson & Johnson and Johnson &
 7   Johnson Consumer, Inc.
 8               THE COURT:      And, Ms. Malik, could you just
 9   please spell your last name for us.
10               MS. MALIK:      Yes, M-A-L-I-K.
11               THE CLERK:      And, Your Honor, did we receive a
12   reporter stip?
13               THE COURT:      Is there a court reporter on this
14   matter?
15               THE REPORTER:        Yes.      Good morning, Your Honor.
16   This is Sheila Pham, court reporter.
17               THE COURT:      All right.          So we did receive a
18   stipulation for appointment of a reporter?
19               MR. RIVAMONTE:         One was filed yesterday.
20               THE COURT:      Oh, okay.         We'll track that down.
21   It hasn't shown up yet in the file, but we will track
22   that down and sign it.           Thank you.
23               So are there any other appearances for the
24   record on Doyle versus Imerys?
25               (No response.)



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                                                                               4
 1               THE COURT:     Hearing none.
 2               I do see that this case was set for a jury
 3   trial before Judge Rosen in April 2022, and it was
 4   canceled because of the stay in the proceedings due to
 5   the bankruptcy or for some other -- or for an appeal.
 6   I'm not sure which.        So --
 7               MS. MALIK:     Yes --
 8               MR. RIVAMONTE:        May I --
 9               THE COURT:     Go ahead.
10               MR. RIVAMONTE:        Yes, Your Honor, Ian Rivamonte
11   for --
12               (Simultaneous speaking.)
13               MR. RIVAMONTE:        I apologize, Your Honor.
14   Ian Rivamonte for the plaintiffs.
15               I can briefly summarize for the Court and
16   counsel where we are with this case, if I may.
17               THE COURT:     Please.
18               MR. RIVAMONTE:        Yes.      So, Your Honor, there are
19   two trial defendants in this case, Johnson & Johnson and
20   Johnson & Johnson Consumer, Inc.                 As to Johnson &
21   Johnson Consumer, Inc., plaintiffs' claims against that
22   entity are automatically stayed by virtue of the
23   bankruptcy filing.        All of its liabilities as it relates
24   to that entity are currently under bankruptcy
25   protection.



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                                                                                5
 1               Now, for Johnson & Johnson, it's a bit of a
 2   different story.       Johnson & Johnson remains a solvent
 3   and viable corporation.           However, the bankruptcy court
 4   issued a preliminary injunction that precludes
 5   plaintiffs here and others like them from continuing to
 6   prosecute or try their claims in state court against
 7   Johnson & Johnson.        That preliminary injunction
 8   basically precludes plaintiffs from doing anything in
 9   this case for a period of 120 days.
10               That time has now expired.                However, Johnson &
11   Johnson is requesting that the bankruptcy court continue
12   that preliminary injunction for another 120 days or
13   maybe even longer.        Now, the hearing on that particular
14   request is set for July 26th in New Jersey.
15               With all that said, the bankruptcy judge has
16   informed the parties involved in the bankruptcy that he
17   may be inclined to allow certain cases to go forward in
18   state court, and Doyle could be one of them.                   Now, there
19   is no guarantee that's going to happen, but, you know,
20   given that this case is completely worked up and I think
21   the parties are essentially ready for trial, that may be
22   one of the considerations that Judge Kaplan may take
23   into account.
24               With that said, Your Honor, because there is a
25   probability that the bankruptcy judge may lift the stay



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                                                                               6
 1   as to Doyle, and it's still a probability.                It's not
 2   certain -- one of the questions that the judge may ask
 3   during that hearing is:           How soon can this case be set
 4   for a trial assignment?
 5               You know, if Your Honor can shed some light on
 6   that, that'd be great.          Otherwise, I think we should
 7   have another status conference in 30 days, definitely
 8   after the July 26th hearing, to see where we are.
 9               THE COURT:     Okay.       September 13th?
10               MR. RIVAMONTE:        Is that the trial date,
11   Your Honor?
12               THE COURT:     Yes.
13               MR. RIVAMONTE:        Okay.       So it may be set for
14   trial on September 13th.
15               THE COURT:     September 13th, September 20th.
16   Frankly, your odds are probably better September 20th or
17   September 27th.
18               MR. RIVAMONTE:        Okay.
19               THE COURT:     But we could set you on
20   September 13th.
21               Now, that may change if I don't set you today.
22   And if I set you -- I mean -- let me put it this way:
23   Like all the other courts, trial resources are in short
24   supply.     You've been through the trial setting
25   assignment here at this court the last go-around in



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 1   April.     The situation since April has not improved, and
 2   in fact, it's gotten worse because right now, one of the
 3   civil trial judges is doing rotations in criminal court
 4   because of the criminal court backlog.
 5               But as an example, every case that we had that
 6   was set for trial this week went out.                 Every case that
 7   we had set for trial last week went out.                 And we're
 8   hoping that by September, we'll be back at full strength
 9   on the civil jury side.           So --
10               MS. MALIK:     Your Honor, this is --
11               THE COURT:     Yes.
12               MS. MALIK:     I'm sorry, Your Honor.           This is
13   Anne Malik for the defendants.
14               If we do come back then a month after the
15   hearing in the bankruptcy court and were to get assigned
16   a trial date then, would it be sort of just pushed out a
17   month maybe, like, October?              Is that what we're
18   thinking?
19               THE COURT:     That's quite likely.
20               MS. MALIK:     Okay.       Thank you very much,
21   Your Honor.
22               MR. RIVAMONTE:        I have a question, Your Honor.
23               THE COURT:     Yes.
24               MR. RIVAMONTE:        So regardless of -- you know,
25   plaintiffs are not asking that the Court set a trial



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 1   yet.     I just want to make the record clear.            I don't
 2   want to run afoul with any of the bankruptcy court's
 3   orders.
 4               But the September dates or possibly even the
 5   October date you just mentioned, is that when we're
 6   going to be on trial call, or is there going to be an
 7   actual department that we're going to be assigned the
 8   trial?
 9               THE COURT:     As you know from the last time that
10   you were here, that the assignment of a trial department
11   doesn't happen until the Thursday before your trial
12   date.     And, of course, it depends on, you know, what
13   else is set and is going out and whether any of those
14   cases have priority.
15               You do have priority because you've been reset
16   from a prior setting in April, but you also, I believe,
17   have a fairly long estimate of time, and you don't --
18   unless there's a statutory priority, you know, such as
19   -- and I don't know if you're approaching the five-year
20   statute or where you stand on that, there may be reasons
21   why it could go out -- well, let me look at your case
22   number.     You're a 2018 case, so you're getting close in
23   terms of priority.
24               MR. RIVAMONTE:        Thank you, Your Honor.
25               THE COURT:     Okay.       So what we'll do then is,



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 1   we'll continue today's date to --
 2               Do we have anything earlier than -- you know,
 3   than September?        Can we do anything in August?
 4               THE CLERK:      August?        I think the earliest we
 5   have is September 8th.
 6               THE COURT:      September 8th is the earliest date
 7   we have.
 8               MR. RIVAMONTE:         For a further status
 9   conference?
10               THE COURT:      Yes, for a further status
11   conference, September 8th.
12               September 8th is the earliest date we can set
13   it.    It's even earlier than on the trial setting
14   conference calendar.          So I'm going to keep you on this
15   calendar September 8th, 10:00 a.m., this department.
16               MS. MALIK:      Thank you, Your Honor.
17               MR. RIVAMONTE:         Thank you, Your Honor.
18               THE COURT:      Thank you.
19               (Proceedings concluded at 10:45 a.m.)
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 1                        REPORTER'S CERTIFICATION
 2
 3          I, Sheila Pham, a Certified Shorthand Reporter, do
 4   hereby certify:
 5          That the foregoing proceedings were taken before me
 6   at the time and place therein set forth, that the
 7   proceedings were reported stenographically by me and
 8   were thereafter transcribed under my direction and
 9   supervision, and that the foregoing pages contain a
10   full, true and accurate record of all proceedings and
11   testimony to the best of my skill and ability.
12          In witness whereof, I have subscribed my name.
13
14
15   Dated:     0715/2022
16
17
18
19                     <%6534,Signature%>
20                        Sheila Pham
                          CSR No. 13293
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